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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

X CORP.,
                   Plaintiff,

           v.
                                                  Civil Action No. 4:23-cv-01175-O
MEDIA MATTERS FOR AMERICA,
et al.,
            Defendants.



                                SUPPLEMENTAL APPENDIX

Tab No.         Description of Document                                                    Page No.

1               May 24, 2024, Email from A. LeGrand                                        002

2               May 2, 2024, Email from A. Ahmed                                           00

3               Defendants’ First Amended Responses and Objections to Plaintiff’s          0
                Second Set of Requests for Production

4               Defendants’ Second Amended Responses and Objections to Plaintiff’s         02
                First Set of Requests for Production

5               June–AugXVW 2024 Emails from A. Dvorscak, A. Khanna, D. Lorenzo,           05
                and J.Shelly

6               September 2024 Emails from C. Hilton and A. Khanna                         0

7               September 2024 Emails from C. Hilton, A. Khanna, and M. Abrams             07

8               Defendants’ Third Privilege Log                                            07

9               Prentice v. McPhilemy, 27 Med. L. Rptr. 2377 (D.C. Super. Ct. 1999)        1




                                                                                      Supp. App'x 001
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                              Tab 1




                                                                Supp. App'x 002
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From:             LeGrand, Andrew
To:               Vidyarthi, Apratim; Alex Dvorscak; Ahmed, Amer S.; Abha Khanna
Cc:               Boutrous Jr., Theodore J.; Elena Rodriguez Armenta; Champion, Anne; Omeed Alerasool; Jacob Shelly; Chris
                  Dodge; Daniela Lorenzo; Aria Branch; Ogale, Arjun; Chris Hilton; Judd E. Stone, II; Ari Cuenin; Bonnie Chester;
                  Cody Coll; john.sullivan@the-sl-lawfirm.com; Tom Albright; Michael Abrams; Togias, Iason
Subject:          RE: X/MMFA: Meet and Confer
Date:             Friday, May 24, 2024 3:36:50 PM


Alex and Chris,

Thank you for meeting with us earlier today. We wanted to touch base about where we
landed and next steps.

Plaintiff informed us they intend to file a motion to compel in the coming days seeking
production of certain categories of documents that are currently in dispute. As we stated on
the call, and reiterate now, Defendants remain open to continuing to discuss any areas of
dispute. While it is true that the parties have discussed some of these disagreements, these
discussions have been piecemeal, and Defendants have made several concessions over
the past weeks to help move the parties towards a mutually beneficial resolution. We are
thus unsure of where the parties’ disagreements currently stand or the reasons for them
and, therefore, of what further concessions can be made so that the parties can resolve
disputes without adding to the Court’s busy docket.

Accordingly, as we discussed on the call, we request that you send us a list of the RFPs
that Plaintiff intends to raise with the Court. Defendants also asked Plaintiff to send, as is
typically done in the NDTX, a copy of their motion to compel ahead of filing. The purpose of
this is for Defendants to have a clear understanding of what Plaintiffs believe is ripe for
court intervention and Plaintiff’s position on those issues to see if further agreement can be
reached. Plaintiff represented that they would likely file the motion first and have any further
conversations about the motion after it was filed, but that they would discuss internally to
assess their willingness to send Defendants a list of disputed RFPs and/or a preemptive
copy of their motion.

Defendants also clarified that they are not withholding documents based on general
objections. Plaintiff asked whether Defendants can formalize that in the form of amended
responses. We can commit to providing amended responses by Tuesday, May 28.

Similarly, Defendants are eager to engage meaningfully in discussions over Plaintiff’s
continued privilege objections. We have provided Plaintiff with several authorities
supporting our position, separate and apart from what is in our responses and objections.
Plaintiff has stated that they disagree with our position and that the law is different than
what we argue but have not offered support for that position. We asked on the call—and
reiterate our request here—for you to send any authority supporting or explaining your
position. Plaintiffs indicated they are aware of authority but believe the parties are too far
apart for it to make any difference, and also stated it was not their burden to provide
Defendants with authority in support of their position. As we noted, Defendants cannot
meaningfully assess Plaintiff’s arguments to determine whether modification of our privilege
objections are warranted without a fulsome understanding about Plaintiff's position. We
remain willing to continue these conversations to reach a mutually beneficial conclusion.

Plaintiff also requested assurance on when Defendants would produce documents in


                                                                                                               Supp. App'x 003
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advance of the discovery deadline. As Defendants have made clear, given Plaintiff’s
incredibly broad requests, Defendants have collected over 3.5 Terabytes of data to date.
We have a team of staff attorneys and associates from two firms reviewing the data around
the clock and have been making—and will continue to make—bi-weekly productions, as
promised. Defendants have represented repeatedly that we intend to comply with court
ordered deadlines and have no intention of waiting until the end of discovery to produce
documents.

We of course understand Plaintiff’s desire to have documents before depositions are
conducted and expert reports are due. Defendants have the same desires with respect to
Plaintiffs’ forthcoming document productions as well. We remain open to discussing ways
to meet the parties’ needs, such as by bifurcating the schedule so that expert discovery and
depositions take place after all documents are exchanged or extending the case schedule
deadlines. Given the expanded scope of the discovery served in this case, which we
believe goes beyond what was represented at the beginning of this action, we think the
Court would be amenable to such modifications. See, e.g., ECF 14 at pp. 9-10 (Any request
that the trial date of this case be modified must be made (a) in writing to the Court, (b)
before the deadline for completion of discovery, and (c) in accordance with the United
States District Court for the Northern District of Texas Civil Justice Expense and Delay
Reduction Plan ¶V and Local Rule 40.1). While we understand why Plaintiff pushed for a
faster discovery and case schedule than Defendants, see, e.g., ECF 13 at ¶ 8 (compare
Plaintiff’s proposed close of discovery date of August 12 with Defendant’s staggered
deadlines ending February 12), we think the sheer scope of discovery in this case and the
parties desire to have documents produced before depositions and expert reports take
place may necessitate longer schedule. Defendants also remain open to discussing other
solutions Plaintiff may have.

Defendants remain willing and eager to continue meaningfully conferring in good faith to
come to mutually beneficial compromises that help serve the needs of the parties without
further burdening the Court’s docket with discovery-related motion practice.

Best,
Andrew

Andrew LeGrand
Partner

T: +1 214.698.3405 | M: +1 469.658.5686
ALeGrand@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
2001 Ross Avenue Suite 2100, Dallas, TX 75201-2923

-----Original Appointment-----
From: Vidyarthi, Apratim <AVidyarthi@gibsondunn.com>
Sent: Thursday, May 23, 2024 6:35 PM
To: Vidyarthi, Apratim; Alex Dvorscak; Ahmed, Amer S.; Abha Khanna
Cc: LeGrand, Andrew; Boutrous Jr., Theodore J.; Elena Rodriguez Armenta; Champion, Anne; Omeed
Alerasool; Jacob Shelly; Chris Dodge; Daniela Lorenzo; Aria Branch; Ogale, Arjun; Chris Hilton; Judd E.

                                                                                        Supp. App'x 004
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                              Tab 2




                                                                Supp. App'x 005
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From:          Ahmed, Amer S.
To:            Alex Dvorscak; Abha Khanna
Cc:            LeGrand, Andrew; Boutrous Jr., Theodore J.; Elena Rodriguez Armenta; Champion, Anne; Omeed Alerasool;
               Jacob Shelly; Chris Dodge; Daniela Lorenzo; Aria Branch; Vidyarthi, Apratim; Ogale, Arjun; Chris Hilton; Judd E.
               Stone, II; Ari Cuenin; Bonnie Chester; Cody Coll; john.sullivan@the-sl-lawfirm.com; Tom Albright
Subject:       RE: X/MMFA: Plaintiff Position on Motion to Stay Discovery?
Date:          Thursday, May 2, 2024 8:15:29 PM


Alex,

We write to follow-up on pending action items and to respond to some of the points you
raise below.

First, regarding the production we served on Tuesday, April 30, we can confirm that the
documents on the Kiteworks platform are properly loaded and are downloading. The
system also indicates that the production was downloaded on your end yesterday
afternoon. We assume this means there is nothing further to do on this end. If anyone else
from your team needs access to the platform, please let us know.

Second, as you noted in your email, during yesterday’s call, you indicated that you will 1)
propose a new start date for responsive documents that will be closer in time to the events
in dispute than your current request for documents created as early as April 14, 2021; 2)
confirm with Plaintiff what Platform account data is already in its possession, which may
help resolve disputes over requests that seek such data from Defendants; and 3) follow-up
with any additional caselaw regarding your position on privilege considerations. We look
forward to this information.

Third, regarding RFP 23, we can confirm that Mr. Hananoki did not travel to Texas during
the time period outlined in RFP 23 for leisure or work. Defendants therefore modify their
response to RFP 23 to be (in red):

Subject to, and without waiving these objections, Defendants do not possess any
responsive documents because Mr. Hananoki did not conduct any travel from October 20,
2023, to December 15, 2023 undertaken in relation to his research or drafting of the
November 16, 2023 article. Mr. Hananoki also did not travel to Texas in any capacity during
this time.

We believe this amendment is sufficient to obviate any further dispute on this RFP. Please
confirm.

Fourth, Defendants take issue with the way you characterize yesterday’s meeting. For
instance, you write:

“Defendants are limiting their production to a reasonable search based on their chosen
search terms and custodians, rather than capturing the entire universe of potentially
responsive documents.” As we reiterated numerous times yesterday, this description is not
accurate. Defendants are running broad searches through the 3.5 Terabytes of data we
have collected that capture—to the very best of our ability—all of Plaintiff’s requests as
written. These searches are not limited by Defendants’ objections and responses, save for
the categories of documents potentially responsive to discrete inappropriate requests
where Defendants clearly indicated in written objections/responses that they will not be


                                                                                                             Supp. App'x 006
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producing documents at this time. We are also manually reviewing the extensive collection
you requested of audio and video files that are not amenable to search terms, which, as
you can imagine, is a time-consuming process. We will produce all responsive, non-
privileged documents that we identify as part of our search. For privileged documents that
we withhold, we will send X a privilege log explaining what was held back and why.

This approach conforms with traditional discovery processes. The only way to capture the
universe of potentially responsive documents is a reasonable search based on the scope of
the request. Indeed, the only other alternative would be for Defendants to review every
single document in their possession, regardless of its relationship to any of Plaintiffs’
requests. Therefore, your objection to Defendants conducting a “reasonable” search is
confusing, to say the least. We are not aware of any authority requiring parties to perform
an unreasonable search. If you believe otherwise, please send us the relevant citations.

You also write that “Defendants will not tell X their search terms, custodians, or otherwise
describe their search process, but indicated that they might disclose them in response to a
specific ROG asking for that information.” But Defendants have provided Plaintiff with
primary custodian names as a courtesy, and the first time that Plaintiff even brought up
search terms was during yesterday’s meeting. At no point before then had Plaintiff asked
for search terms, proposed search terms, or offered to negotiate search terms. And Plaintiff
has not put forth any explanation for why it appears to believe that Defendants are not
conducting discovery in good faith such that its choices of custodians or search terms are
improper. We remain willing to answer any properly-served discovery requests, but we do
not understand that Plaintiff has any right to otherwise insist on collecting more information
about Defendants, their employees, or their processes.

We also disagree with Plaintiff’s characterization that Defendants “will not estimate the
length of time before their production will be completed” or “the contents of any given
production before it occurs.” Far from withholding this information, we explained that these
kinds of questions cannot be answered with any reliability in advance of conducting the
necessary review. We explained that most of your requests are broad and overlapping, so
this is not the kind of case where we might produce documents in response to each request
sequentially. Nor can we predict the total time necessary to review every document in the
3.5 Terabyte database that we have collected, especially given that so many of your
requests encroach on privileged materials that will need to be studied, potentially redacted,
and logged.

Finally, it is clear based on our communications to date that Plaintiff shows a continued
unwillingness to engage in good-faith discussions on narrowing Plaintiff’s many overbroad,
disproportionate, and irrelevant requests. Despite Defendants’ demonstrated willingness to
confer and revise several of our responses to X’s discovery requests in order to resolve
disputes without taxing the Court’s limited resources, Plaintiff has not engaged in
meaningful discussions and has, to date, refused to work with Defendants to modify a
single one of Plaintiff’s 47 discovery requests in any way. As Defendants have noted time
and time again, Defendants remain open to discussing ways to alleviate the burdens of
discovery while still meeting the needs of this case. As we discussed yesterday, Plaintiff’s
desire both for overbroad discovery and an expedited timeline are necessarily in friction,
and yet Plaintiff has refused to negotiate on either point.

Kind regards,


                                                                                Supp. App'x 007
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Amer

Amer S. Ahmed
Partner

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AAhmed@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
200 Park Avenue, New York, NY 10166-0193

From: Alex Dvorscak <alex@stonehilton.com>
Sent: Thursday, May 2, 2024 11:49 AM
To: Ahmed, Amer S. <AAhmed@gibsondunn.com>; Abha Khanna <akhanna@elias.law>
Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr., Theodore J.
<TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>;
Champion, Anne <AChampion@gibsondunn.com>; Omeed Alerasool <oalerasool@elias.law>; Jacob
Shelly <jshelly@elias.law>; Chris Dodge <cdodge@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>;
Aria Branch <abranch@elias.law>; Vidyarthi, Apratim <AVidyarthi@gibsondunn.com>; Ogale, Arjun
<AOgale@gibsondunn.com>; Chris Hilton <chris@stonehilton.com>; Judd E. Stone, II
<judd@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>; Bonnie Chester
<Bonnie@stonehilton.com>; Cody Coll <cody@stonehilton.com>; john.sullivan@the-sl-lawfirm.com;
Tom Albright <tom@stonehilton.com>
Subject: RE: X/MMFA: Plaintiff Position on Motion to Stay Discovery?

[WARNING: External Email]

Hi all,

Thanks for taking the time to meet with us yesterday. I believe our conference
helped clarify a lot of the parties’ issues. And so, I wanted to quickly summarize
our understanding of what was discussed.

   1. General Issues:
          Tech issues with first production:
                  Parties will work to connect IT folks to ensure file transfer.
          ESI Order:
                  X will get y’all a draft ESI order shortly for discussion.
          Date Limitation:
                  X will propose a compromise date for production that is later
                  than April 2021 but before April 2022.

   2. Specific Requests:


                                                                                  Supp. App'x 008
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                              Tab 3




                                                                Supp. App'x 009
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION



 X CORP.,

 Plaintiff,

         v.                                          Civil Action No. 4:23-cv-01175-O

 MEDIA MATTERS FOR AMERICA,
 et al.,

         Defendants.




DEFENDANTS MEDIA MATTERS FOR AMERICA, ERIC HANANOKI, AND ANGELO
 CARUSONE’S RESPONSES AND OBJECTIONS TO PLAINTIFF’S SECOND SET OF
                   REQUESTS FOR PRODUCTION

        Defendants Media Matters for America (“Media Matters”), Mr. Eric Hananoki, and Mr.

Angelo Carusone, through their undersigned counsel, submit these responses and objections to

Plaintiff X Corp.’s Second Set of Requests for Production (“Discovery Requests” or “Requests”).

                                PRELIMINARY STATEMENT

        The responses set forth herein are based on the information and documents reasonably

available to Defendants at this time, but discovery in this matter, including Defendants’

investigation into the issues raised in this lawsuit and documents responsive to Plaintiff’s

Discovery Requests, is still ongoing. Defendants reserve their right to alter, supplement, amend,

correct, clarify, or otherwise modify these responses and objections, to assert additional objections

or privileges in any subsequent supplemental response(s) and/or on a document-by-document

basis, or to move for a Court order if deemed appropriate.



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       By making the accompanying responses and objections to Plaintiff’s Discovery Requests,

Defendants do not waive, and hereby expressly reserve, their right to assert all objections as to the

admissibility of such responses and documents into evidence in this action, or in any other

proceedings.

       Produced materials will adhere to formal ESI protocol, privilege material agreement, and

any protective order agreed to by Counsel for Plaintiff and Defendants and entered by the Court,

and will be produced on a rolling basis. As of the date of these Amended Responses and Objections,

the Parties have yet to agree upon or submit for the Court’s approval any of these documents. Any

previous or forthcoming production by Defendants is made without waiver of their rights and

privileges according to those documents once they are finalized and entered by the Court.

       Moreover, Defendants maintain that this Court has no personal jurisdiction over Media

Matters, Eric Hananoki, or Angelo Carusone, and that the Northern District of Texas is not the

proper venue for this dispute. See Defendants’ Brief in Support of their Motion to Dismiss, ECF

41 at Sections I and II; Defendants’ Reply in Support of their Motion to Dismiss, ECF 51 at

Sections I and II. Defendants provide these responses and objections subject to and without

waiving any of their arguments for dismissal.

                         RESPONSES TO INDIVIDUAL REQUESTS

REQUEST FOR PRODUCTION NO. 30: All versions of the November 17, 2023 Article,

including but not limited to all drafts, outlines, or notes thereof and any subsequent edits, updates,

and/or amendments thereto, and including all prior versions previously available on the Website.

       OBJECTIONS: The Request does not define the term “notes,” but Defendants interpret

the term as used here consistent with its ordinary meaning to ask for written records created in the

process of reporting, writing, and publishing the November 17, 2023 Article. In its May 24, 2024



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Motion to Compel, Plaintiff indicated that it agrees with Defendants’ definition. See ECF 60, Pl.’s

Mot. to Compel, at 7.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 31: All source materials, research, screenshots, Platform

account data, and other documents or communications relied on, referenced, created, or considered

by You in conceiving of, investigating, working on, writing, publishing, and disseminating the

November 17, 2023 Article.

       OBJECTIONS: The Request does not define the term “Platform account data.” After

conferring with Plaintiff, Defendants interpret the term as used here to ask for usernames, posts,

chats, and comments of, as well as emails generated from, accounts on the X Platform relied on,

referenced, created, or considered in investigating, working on, writing, publishing, and

disseminating the referenced article. See also ECF 60, Pl’s Mot. to Compel, at 7. Defendants also

include “login information” in their definition of Platform account data, but Defendants object to

this as not relevant and disproportionate to the needs of the case since it seeks sensitive username

and password information. Defendants further object to this Request because it seeks Platform

account data that is already within X’s possession and is therefore more convenient, less

burdensome, and less expensive for X to access outside of discovery.




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       RESPONSE: The Parties are still discussing the extent to which some or all of the Platform

account data is in the custody, possession, and control of X and more easily accessible by X. Once

the Parties have resolved that question, Defendants will provide Plaintiff with the relevant account

handles.

       Defendants will otherwise produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 32: All documents and communications related to the

November 17, 2023 Article, including but not limited to internal communications, communications

with the public (including social media posts), communications with donors, communications with

journalists, and communications with the advertisers mentioned in the November 17, 2023 Article.

       OBJECTION: Defendants object to the disclosure of donor identification information as

harassing. Disclosure of donor identifying information can lead to donors being harassed for and

deterred from affiliating with organizations they support. 1 Indeed, Elon Musk himself has called




1
  See, e.g., Americans for Prosperity Foundation v. Bonta, 594 U.S. 595, 616–17 (2021) (“The
petitioners here, for example, introduced evidence that they and their supporters have been
subjected to bomb threats, protests, stalking, and physical violence. App. in No. 19–251, at 256,
291–292. Such risks are heightened in the 21st century and seem to grow with each passing year,




                                                 4

                                                                                    Supp. App'x 013
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Media Matters “an evil propaganda machine that can go to hell” and vowed that X “will pursue

not just the organization but anyone funding that organization. I want to be clear about that anyone

funding that organization, will be, we will pursue them”. 2 Plaintiff’s request for this information

is inappropriate and not proportional to the needs of this case.

        RESPONSE: Based on this objection, Defendants will not produce identifying donor

information in response to this request. Defendants will otherwise produce on a rolling basis any

responsive, nonprivileged documents in their possession, custody, or control that they are able to

locate following a reasonable search. Defendants are in the process of collecting and reviewing

documents and are not presently withholding any responsive documents that they have identified.

Defendants will supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 33: All audio and video recordings of You discussing or

referencing in any way the November 17, 2023 Article, including but not limited to documents

reflecting any URLs for any such recordings of You that are in the possession, custody, or control

of third parties.




as ‘anyone with access to a computer [can] compile a wealth of information about’ anyone else,
including such sensitive details as a person’s home address or the school attended by his children”)
(internal citation omitted); see also Koch Ally Says He Received Death Threats, Matt Reynolds,
Courthouse News (Feb.25, 2016) (libertarian businessman whose affiliation with the Americans
for Prosperity Foundation was leaked said “he received death threats and had considered quitting
the foundation because he was worried about his family's safety and the adverse effect of protests
outside his North Carolina stores”) (last accessed May 28, 2024).
2
 @TheChiefNerd, X.com (Dec. 10, 2023, 4:24 PM), [https://perma.cc/6L3M-SHX3] (last
accessed May 28, 2024).

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           OBJECTIONS: Defendants object to this Request because it purports to seek materials

“in the possession, custody, or control of third parties” and therefore falls outside the scope of Fed.

R. Civ. P. 26 and 34.

           RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents. Defendants will

not search for or produce any documents that are in the possession, custody, or control of third

parties.



REQUEST FOR PRODUCTION NO. 34: All materials regarding or communications with You

or any other Media Matters employee, contractor, or agent mentioning or regarding in any way

this Matter, Elon Musk, Linda Yaccarino, X, Twitter, or the Platform, including misinformation,

brand safety, or ad pairing on the Platform.

           RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in its possession, custody, or control that they are able to locate following a reasonable

search. Defendants are in the process of collecting and reviewing documents and are not presently

withholding any responsive documents that they have identified. Defendants will supplement this

response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 35: All materials regarding or communications with any

donor or potential donor to Media Matters mentioning or regarding in any way this Matter, Elon



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Musk, Linda Yaccarino, X, Twitter, or the Platform, including misinformation, brand safety, or ad

pairing on the Platform.

       OBJECTIONS: Defendants object to this Request as harassing. See, e.g., Hickman v.

Taylor, 329 U.S. 495, 507–08, 67 S. Ct. 385, 392, 91 L. Ed. 451 (1947) (“[D]iscovery, like all

matters of procedure, has ultimate and necessary boundaries. As indicated by Rules 30(b) and (d)

and 31(d), limitations inevitably arise when it can be shown that the examination is being

conducted in bad faith or in such a manner as to annoy, embarrass or oppress the person subject to

the inquiry. And as Rule 26(b) provides, further limitations come into existence when the inquiry

touches upon the irrelevant or encroaches upon the recognized domains of privilege.”). Disclosure

of donor identifying information can lead to donors being harassed for and deterred from affiliating

with organizations they support. 3 Indeed, Elon Musk himself has called Media Matters “an evil

propaganda machine that can go to hell” and vowed that X “will pursue not just the organization

but anyone funding that organization. I want to be clear about that anyone funding that




3
  See, e.g., Americans for Prosperity Foundation v. Bonta, 594 U.S. 595, 616–17 (2021) (“The
petitioners here, for example, introduced evidence that they and their supporters have been
subjected to bomb threats, protests, stalking, and physical violence. App. in No. 19–251, at 256,
291–292. Such risks are heightened in the 21st century and seem to grow with each passing year,
as ‘anyone with access to a computer [can] compile a wealth of information about’ anyone else,
including such sensitive details as a person’s home address or the school attended by his children”)
(internal citation omitted); see also Koch Ally Says He Received Death Threats, Matt Reynolds,
Courthouse News (Feb.25, 2016) (libertarian businessman whose affiliation with the Americans
for Prosperity Foundation was leaked said “he received death threats and had considered quitting
the foundation because he was worried about his family's safety and the adverse effect of protests
outside his North Carolina stores”) (last accessed May 28, 2024).

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                                                                                    Supp. App'x 016
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organization, will be, we will pursue them”. 4 Plaintiff’s request for this information is

inappropriate and not proportional to the needs of this case.

       RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 36: All materials, including but not limited to notes,

transcripts, or recordings, whether published, broadcast, or otherwise, or all media or public

appearances made by You wherein You discussed or mentioned this Matter, Elon Musk, Linda

Yaccarino, X, Twitter, or the Platform, including misinformation, brand safety, or ad pairing on the

Platform.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in its possession, custody, or control that they are able to locate following a reasonable

search. Defendants will not search for or produce materials outside of Defendants’ possession,

custody, or control. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 37: All materials regarding or communications with Eric

Hananoki.




4
 @TheChiefNerd, X.com (Dec. 10, 2023, 4:24 PM), [https://perma.cc/6L3M-SHX3] (last
accessed May 28, 2024).

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                                                                                    Supp. App'x 017
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        OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, and for seeking

documents not relevant to any claim or defense asserted in this litigation. For example, this Request

impermissibly requires blanket production of “[a]ll materials regarding or communications with

Eric Hananoki,” even where not reasonably related to the issues in dispute in this case. Defendants

further object to this Request as duplicative of and/or cumulative of other discovery requests,

including Request Nos. 1, 2, 3, 4, 5, 6, 7, 9, 10, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 28,

30, 31, 32, 33, 34, 36, 38, 39, 40, 41, 42, 43, 44, 45, 46, and 47.

        RESPONSE: Many of documents Defendants produce in response to other Requests will

be responsive to this Request as well, as noted above. Based on the foregoing objections, however,

Defendants will not conduct a separate search or create separate productions for this Request at

this time.



REQUEST FOR PRODUCTION NO. 38: All materials regarding or communications with

Matt Gertz.

        OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case, and

for seeking documents not relevant to any claim or defense asserted in this litigation. For example,

this Request impermissibly requires blanket production of “[a]ll materials regarding or

communications with Matt Gertz,” even where not reasonably related to the issues in dispute in

this case. Indeed, Mr. Gertz did not author either the November 16 or November 17 articles and is

only referenced in two footnotes of Plaintiff’s Amended Complaint, both citing to the same article.

See ECF 37, Am. Compl. at n.4 and n.20. Defendants further object to this Request as duplicative



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of and/or cumulative of other discovery requests, including Discovery Request Nos. 5, 6, 7, 20,

28, 34, 36, 39, 41, 42, 44, and 45.

        RESPONSE: Documents Defendants produce in response to other Requests may be

responsive to this Request as well, as noted above. Based on the foregoing objections, however,

Defendants will not conduct a separate search or create separate productions for this Request at

this time.



REQUEST FOR PRODUCTION NO. 39: All materials reflecting or regarding any policies,

practices, procedures, codes of conduct, ethical standards, or other guidelines for appropriate

investigation and reporting for Media Matters’ articles, including but not limited to policies

concerning fact-checking, defamation, and contacting sources or subjects of articles.

        RESPONSE: Defendants will produce on a rolling basis, any responsive, nonprivileged

documents in its possession, custody, or control that they are able to locate following a reasonable

search. Defendants are in the process of collecting and reviewing documents and are not presently

withholding any responsive documents that they have identified. Defendants will supplement this

response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 40: All materials and communications regarding the X

account(s) used in creating the November 16, 2023 Article or the November 17, 2023 Article,

including but not limited to any emails from the Platform (including automatic or system-generated

emails).

        OBJECTIONS: Defendants interpret “materials” to include Platform account data.

Defendants object to this Request because it seeks Platform account data that is already within X’s



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possession and is therefore more convenient, less burdensome, and less expensive for X to access

outside of discovery. Defendants also object to this Request as duplicative of and/or cumulative of

other discovery requests, including Discovery Request Nos. 2, 10, and 31.

       RESPONSE: Defendants interpret “materials” to include Platform account data. The

Parties are still discussing the extent to which some or all of the Platform account data is in the

custody, possession, and control of X and more easily accessible by X. Once the Parties have

resolved that question, Defendants will provide Plaintiff with the relevant account handles and

otherwise produce on a rolling basis any responsive, nonprivileged materials that are in their

possession, custody, or control and that they are able to locate following a reasonable search.



REQUEST FOR PRODUCTION NO. 41: All materials and communications with or regarding

any X account or X advertiser appearing the [sic] November 16, 2023 Article or the November 17,

2023 Article.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in its possession, custody, or control that they are able to locate following a reasonable

search. Defendants are in the process of collecting and reviewing documents and are not presently

withholding any responsive documents that they have identified. Defendants will supplement this

response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 42: All materials regarding or communications with any

individual or entity named in the November 16, 2023 Article, the November 17, 2023 Article, and

any subsequent coverage, including communications with any entity’s board of directors,




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                                                                                    Supp. App'x 020
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employees, agents, attorneys, representatives, and all other persons acting or purporting to act on

behalf of any such entity.

       OBJECTIONS: Defendants object to the phrase “any subsequent coverage,” which is

vague, overly broad, not reasonably particularized, unduly burdensome, and disproportionate to

the needs of this case, as it would purport to include every article MMFA has written or published

since November 16, 2023.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

materials regarding or communications with any individual or entity named in the November 16,

2023 Article or the November 17, 2023 Article in its possession, custody, or control that they are

able to locate following a reasonable search. Defendants are in the process of collecting and

reviewing documents and are not presently withholding any responsive documents that they have

identified. Defendants will supplement this response if they identify and withhold any responsive

documents.



REQUEST FOR PRODUCTION NO. 43: All materials regarding or communications with any

sources for the November 16, 2023 Article, the November 17, 2023 Article, and any subsequent

coverage.

       OBJECTIONS: Defendants object to the phrase “any subsequent coverage,” which is

vague, overly broad, not reasonably particularized, unduly burdensome, and disproportionate to

the needs of this case, as it would purport seek information pertaining to every source for every

article MMFA has written or published since November 17, 2023. Defendants object to this

Request as duplicative of and/or cumulative of other discovery requests, including Request Nos.

2, 3, 31, and 32.



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        RESPONSE: Defendants are not in possession of any responsive documents because

Defendants did not rely on any sources in drafting the November 16 and November 17, 2023

articles.



REQUEST FOR PRODUCTION NO. 44: Documents sufficient to show the identity of the

author of and every contributor to articles that are attributed to “Media Matters Staff” or that are

unattributed referring to this Matter, Elon Musk, Linda Yaccarino, X, Twitter, the November 16,

2023 Article, the November 17, 2023 Article, or the Platform, including misinformation, brand

safety, ad pairing, anti-Semitism, racism, Nazis or Nazi ideology and content, white nationalism,

white supremacism, or the “alt-right” on the Platform.

        RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in its possession, custody, or control that they are able to locate following a reasonable

search. Defendants are in the process of collecting and reviewing documents and are not presently

withholding any responsive documents that they have identified. Defendants will supplement this

response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 45: All materials or communications that reference in

any way this Matter, Elon Musk, Linda Yaccarino, X, Twitter, or the Platform, including

misinformation, brand safety, or ad pairing on the Platform, and use any of the following terms or

any variant of any of the following terms: Hitler, Nazi, racist, racism, alt-right, antisemite,

antisemitism, anti-Semite, anti-Semitism, red line, replacement theory, white supremacy, white

nationalism, white pride, Pepe, frog Twitter, the Holocaust, bigotry, hate, hatred, hateful speech,

Charlottesville, tiki torch, January 6, January 6th, Jan. 6, Jan. 6th, 1/6, J6, minorities, hordes, jew,



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                                                                                       Supp. App'x 022
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jewish, Israel, Israeli, IDF, Israeli Defense Force, Palestine, Palestinian, “from the river to the sea,”

October 7, 10/7, jihad, day of jihad, Hamas, Gaza, Islam, Islamic, Palestinian Islamic Jihad, PIJ,

Islamophobia, Zionism, Zionist, Zion, blue chip, brand, free speech, First Amendment, Texas, Fort

Worth, Dallas, Austin.

        RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in its possession, custody, or control that they are able to locate following a reasonable

search. Defendants are in the process of collecting and reviewing documents and are not presently

withholding any responsive documents that they have identified. Defendants will supplement this

response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 46: All materials reflecting or relating to any reports,

accusations, files, notes, personnel records, complaints, mediations, arbitrations, lawsuits

(including potential or threatened lawsuits that were never filed), or investigations involving

allegations that You took adverse employment actions or otherwise discriminated against or took

any action against another person or persons on the basis of a protected class, including but not

limited to race, color, national origin, religion, sex, sexual orientation, language status, or

pregnancy status.

        OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case. Indeed, none of

the employment related materials X seeks in its request are relevant to any of its tort claims or

computation of damages, or to Defendants’ defenses. See, e.g., Hickman v. Taylor, 329 U.S. 495,

507–08, 67 S. Ct. 385, 392, 91 L. Ed. 451 (1947) (“[D]iscovery, like all matters of procedure, has

ultimate and necessary boundaries. As indicated by Rules 30(b) and (d) and 31(d), limitations



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inevitably arise when it can be shown that the examination is being conducted in bad faith or in

such a manner as to annoy, embarrass or oppress the person subject to the inquiry. And as Rule

26(b) provides, further limitations come into existence when the inquiry touches upon the

irrelevant or encroaches upon the recognized domains of privilege.”).

       RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 47: All materials reflecting or relating to any reports,

accusations, files, notes, personnel records, complaints, mediations, arbitrations, lawsuits

(including potential or threatened lawsuits that were never filed), or investigations involving

allegations against You regarding business disparagement, defamation, or libel.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case. See, e.g.,

Hickman v. Taylor, 329 U.S. 495, 507–08, 67 S. Ct. 385, 392, 91 L. Ed. 451 (1947) (“[D]iscovery,

like all matters of procedure, has ultimate and necessary boundaries. As indicated by Rules 30(b)

and (d) and 31(d), limitations inevitably arise when it can be shown that the examination is being

conducted in bad faith or in such a manner as to annoy, embarrass or oppress the person subject to

the inquiry. And as Rule 26(b) provides, further limitations come into existence when the inquiry

touches upon the irrelevant or encroaches upon the recognized domains of privilege.”). Moreover,

Defendants, like all media organizations, are frequently contacted by individuals who criticize or

threaten Defendants regarding their reporting despite having no credible basis and despite never

going through with legal action. Searching, reviewing, and producing all of these documents would

result in a high volume of irrelevant and not responsive documents. See, e.g., Samsung Elecs. Am.,



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                                                                                  Supp. App'x 024
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Inc. v. Yang Kun Chung, 321 F.R.D. 250, 284 (N.D. Tex. 2017) (noting “a court can—and must—

limit proposed discovery that it determines is not proportional to the needs of the case, considering”

among other things, “the parties’ resources, the importance of the discovery in resolving the issues,

and whether the burden or expense of the proposed discovery outweighs its likely benefit”).

       RESPONSE: Notwithstanding these objections, Defendants will produce on a rolling basis

any responsive publicly available legal filings in its possession, custody, or control that they are

able to locate following a reasonable search.




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                              Tab 4




                                                                 Supp. App'x 026
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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION



    X CORP.,

    Plaintiff,

            v.                                      Civil Action No. 4:23-cv-01175-O

    MEDIA MATTERS FOR AMERICA,
    et al.,

            Defendants.




       DEFENDANTS MEDIA MATTERS FOR AMERICA AND ERIC HANANOKI’S
       AMENDED RESPONSES AND OBJECTIONS TO PLAINTIFF’S FIRST SET OF
                      REQUESTS FOR PRODUCTION

           Defendants Media Matters for America (“Media Matters”) and Mr. Eric Hananoki, 1

through their undersigned counsel, submit these amended responses and objections to Plaintiff X

Corp.’s First Set of Requests for Production (“Discovery Requests” or “Requests”), initially served

on March 11, 2024. Defendants’ amendments are made based on conferral among counsel.

                                 PRELIMINARY STATEMENT

           The responses set forth herein are based on the information and documents reasonably

available to Defendants at this time, but discovery in this matter, including Defendants’




1
  Plaintiff’s First Set of Requests for Production were served on February 5, 2024, prior to when
Plaintiff amended its complaint to include Angelo Carusone as a defendant. Therefore, these
Responses and Objections are not on behalf of Mr. Carusone. All references to Defendants herein
are to Media Matters and Mr. Hananoki only.

                                                1

                                                                                   Supp. App'x 027
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investigation into the issues raised in this lawsuit and documents responsive to Plaintiff’s

Discovery Requests is still ongoing. Defendants reserve their right to alter, supplement, amend,

correct, clarify, or otherwise modify these responses and objections, to assert additional objections

or privileges in any subsequent supplemental response(s) and/or on a document-by-document

basis, or to move for a Court order if deemed appropriate.

       By making the accompanying responses and objections to Plaintiff’s Discovery Requests,

Defendants do not waive, and hereby expressly reserve, their right to assert all objections as to the

admissibility of such responses and documents into evidence in this action, or in any other

proceedings.

       Produced materials will adhere to formal ESI protocol, privilege material agreement, and

any protective order agreed to by Counsel for Plaintiff and Defendants and entered by the Court

and will be produced on a rolling basis. As of the date of these Amended Responses and Objections,

the Parties have yet to agree upon or submit for the Court’s approval any of these documents. Any

previous or forthcoming production by Defendants is made without waiver of their rights and

privileges according to those documents once they are finalized and entered by the Court.

       Moreover, Defendants maintain that this Court has no personal jurisdiction over Media

Matters or Eric Hananoki and that the Northern District of Texas is not the proper venue for this

dispute. See Defendants’ Brief in Support of their Motion to Dismiss, ECF 41 at Sections I and II;

Defendants’ Reply in Support of their Motion to Dismiss, ECF 51 at Sections I and II. Defendants

provide these responses and objections subject to and without waiving any of their arguments for

dismissal.




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                         RESPONSES TO INDIVIDUAL REQUESTS

REQUEST FOR PRODUCTION NO. 1: All versions of the November 16, 2023 Article,

including but not limited to all drafts, outlines, or notes thereof and any subsequent edits, updates,

and/or amendments thereto, and including all prior versions previously available on the Website.

       OBJECTIONS: The Request does not define the term “notes,” but Defendants interpret

the term as used here consistent with its ordinary meaning to ask for written records created in the

process of reporting, writing, and publishing the November 16, 2023 Article. In its May 24, 2024

Motion to Compel, Plaintiff indicated that it agrees with Defendants’ definition. See ECF 60, Pl.’s

Mot. to Compel, at 7.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 2: All source materials, research, screenshots, Platform

account data, and other documents or communications relied on, referenced, created, or considered

by You in conceiving of, investigating, working on, writing, publishing, and disseminating the

November 16, 2023 Article.

       OBJECTIONS: The Request does not define the term “Platform account data.” After

conferring with Plaintiff, Defendants interpret the term as used here to ask for usernames, posts,

chats, and comments of, as well as emails generated from, accounts on the X Platform relied on,

referenced, created, or considered in investigating, working on, writing, publishing, and

disseminating the referenced article. See also ECF 60, Pl.’s Mot. to Compel, at 7. Plaintiff also
                                                  3

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includes “login information” in their definition of Platform account data, but Defendants object to

this as not relevant and disproportionate to the needs of the case since it seeks sensitive username

and password information. Defendants further object to this Request because it seeks Platform

account data that is already within X’s possession and is therefore more convenient, less

burdensome, and less expensive for X to access outside of discovery.

       RESPONSE: The Parties are still discussing the extent to which some or all of the Platform

account data is in the custody, possession, and control of X and more easily accessible by X. Once

the Parties have resolved that question, Defendants will provide Plaintiff with the relevant account

handles.

       Defendants will otherwise produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 3: All documents and communications related to the

November 16, 2023 Article, including but not limited to internal communications, communications

with the public (including social media posts), communications with donors, communications with

journalists, and communications with the advertisers mentioned in the November 16, 2023 Article.

       OBJECTION: Defendants object to the disclosure of donor identification information as

harassing. Disclosure of donor identifying information can lead to donors being harassed for and




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deterred from affiliating with organizations they support. 2 Indeed, Elon Musk himself has called

Media Matters “an evil propaganda machine that can go to hell” and vowed that X “will pursue

not just the organization but anyone funding that organization. I want to be clear about that anyone

funding that organization, will be, we will pursue them”. 3 Plaintiff’s request for this information

is inappropriate and not proportional to the needs of this case.

       RESPONSE: Based on this objection, Defendants will not produce identifying donor

information in response to this request. Defendants will otherwise produce on a rolling basis any

responsive, nonprivileged documents in their possession, custody, or control that they are able to

locate following a reasonable search. Defendants are in the process of collecting and reviewing

documents and are not presently withholding any responsive documents that they have identified.

Defendants will supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 4: All audio and video recordings of You discussing or

referencing in any way the November 16, 2023 Article, including but not limited to documents




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  See, e.g., Americans for Prosperity Foundation v. Bonta, 594 U.S. 595, 616–17 (2021) (“The
petitioners here, for example, introduced evidence that they and their supporters have been
subjected to bomb threats, protests, stalking, and physical violence. App. in No. 19–251, at 256,
291–292. Such risks are heightened in the 21st century and seem to grow with each passing year,
as ‘anyone with access to a computer [can] compile a wealth of information about’ anyone else,
including such sensitive details as a person’s home address or the school attended by his children”)
(internal citation omitted); see also Koch Ally Says He Received Death Threats, Matt Reynolds,
Courthouse News (Feb.25, 2016) (libertarian businessman whose affiliation with the Americans
for Prosperity Foundation was leaked said “he received death threats and had considered quitting
the foundation because he was worried about his family's safety and the adverse effect of protests
outside his North Carolina stores”) (last accessed May 28, 2024).
3
 @TheChiefNerd, X.com (Dec. 10, 2023, 4:24 PM), [https://perma.cc/6L3M-SHX3] (last
accessed May 28, 2024).

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reflecting any URLs for any such recordings of You that are in the possession, custody, or control

of third parties.

           OBJECTIONS: Defendants object to this Request because it purports to seek materials

“in the possession, custody, or control of third parties” and therefore falls outside the scope of Fed.

R. Civ. P. 26 and 34.

           RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents. Defendants will

not search for or produce any documents that are in the possession, custody, or control of third

parties.



REQUEST FOR PRODUCTION NO. 5: All documents and communications discussing or

mentioning X, the Platform, Elon Musk, or Linda Yaccarino, including but not limited to email

updates, “Action Updates,” or “Weekly Updates,” that were sent out via any email, text, phone,

social media, or other distribution list that You maintain.

           RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.




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REQUEST FOR PRODUCTION NO. 6: All documents and communications concerning

content moderation on the Platform.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 7: All documents and communications concerning

advertising on the Platform, including but not limited to documents and communications

concerning any particular advertiser or potential advertiser on the Platform.

       OBJECTION: The Request does not define “advertiser,” but Defendants interpret the term

to mean all X advertisers listed in Plaintiff’s amended complaint. To the extent Plaintiff means

something different, Defendants object to this Request as vague because Defendants do not know

the identity of all the entities that have advertised on X, much less all entities that X may view as

a “potential advertiser”.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Based on the objection above, Defendants will not search for or produce any

documents concerning advertisers not listed in X’s amended complaint. Defendants are in the

process of collecting and reviewing documents and are not presently withholding any responsive

documents that they have identified. Defendants will supplement this response if they identify and

withhold any responsive documents.



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REQUEST FOR PRODUCTION NO. 8: All communications with X’s advertisers concerning

the Platform, including but not limited to communications regarding their decision to advertise on

the Platform.

        OBJECTION: The Request does not define “X’s advertisers,” but Defendants interpret

the term to mean all X advertisers listed in Plaintiff’s amended complaint. To the extent Plaintiff

means something different, Defendants object to this Request as vague because Defendants do not

know the identity of all of X’s advertisers.

        RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Based on the objection above, Defendants will not search for or produce any

documents concerning advertisers not listed in X’s amended complaint. Defendants are in the

process of collecting and reviewing documents and are not presently withholding any responsive

documents that they have identified. Defendants will supplement this response if they identify and

withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 9: All communications with X’s advertisers about

advertising with or financially supporting You.

        OBJECTION: The Request does not define “X’s advertisers,” but Defendants interpret

the term to mean all advertisers listed in X’s amended complaint. To the extent Plaintiff means

something different, Defendants object to this Request as vague because Defendants do not know

the identity of all of X’s advertisers.




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       RESPONSE: Neither Media Matters nor Eric Hananoki has any documents responsive to

this request for the advertisers listed in X’s amended complaint.



REQUEST FOR PRODUCTION NO. 10: All posts, comments, direct messages, and any other

account data of any kind whatsoever posted by You on the Platform, including but not limited to

the @mmfa and @ehananoki accounts and any accounts used in the creation of the November 16,

2023 Article.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, and for seeking

documents not relevant to any claim or defense asserted in this litigation. For example, this Request

requires a blanket production of “[a]ll posts, comments, direct messages, and any other account

data of any kind whatsoever” of various accounts, even where the information it seeks is

immaterial or unrelated to any of Plaintiff’s tort claims, to any computation of damages, or to any

of Defendants’ defenses. Defendants further object to this Request because it seeks data that is

already within X’s possession and is therefore more convenient, less burdensome, and less

expensive for X to access outside of discovery.

       RESPONSE: The Parties are still discussing the extent to which some or all of the Platform

account data is in the custody, possession, and control of X and more easily accessible by X. Once

the Parties have resolved that question, Defendants will provide Plaintiff with account handles

related to the claims and issues in this case and otherwise produce on a rolling basis any responsive,

nonprivileged materials related to the claims and issues in this case that are in their possession,

custody, or control and that they are able to locate following a reasonable search.




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REQUEST FOR PRODUCTION NO. 11: All communications with appointed or elected public

officials, candidates for public office, candidate campaign committees, political party committees,

PACs, 501(c)(4) groups, and any other political actors or political operatives.

        OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, and for seeking

documents not relevant to any claim or defense asserted in this litigation. For example, this Request

requires a blanket production of “[a]ll communications” with an unquantifiable number of

potential individuals and entities on unspecified topics, even where these are immaterial and

unrelated to any of Plaintiff’s tort claims, to any computation of damages, or to any of Defendants’

defenses. Indeed, there are over 500,000 public officials in the U.S., 4 not counting individuals not

currently in office or candidates; over 70,000 registered 501(c)(4)s 5; and over 8,500 PACs. 6

        RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time. Pursuant to X’s representations at the May 27, 2024 meet-

and-confer, Defendants await a revised request that is tailored to the claims and defenses at issue

in this case.




4
    How many politicians are there in the USA? (Infographic), PoliEngine,
https://poliengine.com/blog/how-many-politicians-are-there-in-the-us (last accessed May 27,
2024).
5
    How many nonprofits are there in the US?, USA Facts (Nov. 2024),
shttps://usafacts.org/articles/how-many-nonprofits-are-there-in-the-us/ (last accessed May 27,
2024).
6
              Committees,             Federal            Election              Commission,
https://www.fec.gov/data/committees/?committee_type=O (last accessed May 27, 2024); see also
Committees,                 Federal                 Election                   Commission,
https://www.fec.gov/data/committees/?committee_type=V&committee_type=W (last accessed
May 27, 2024).

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REQUEST FOR PRODUCTION NO. 12: All IRS Form 990s for Media Matters, regardless of

time period, since the founding of Media Matters.

       RESPONSE: Defendants have produced and will continue to produce on a rolling basis

Media Matters’s Form 990 tax returns.



REQUEST FOR PRODUCTION NO. 13: All annual financial statements for Media Matters,

regardless of time period, since the founding of Media Matters.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case, and

for seeking documents not relevant to any claim or defense asserted in this litigation. For example,

this Request requires a blanket production of “[a]ll annual financial statements for Media Matters”

since the organization’s founding twenty years ago, with no indication of why this information

would be material or related to the claims or defenses at issue in this case. Indeed, the Platform

was not founded until 2006, two years after Media Matters was founded. While federal courts

allow plaintiffs bringing punitive damages to engage in pretrial discovery of financial information,

Briones v. Smith Dairy Queens, Ltd., No. 08-48, 2008 WL 4630485, at *5 (S.D. Tex. Oct. 16,

2008), this does not provide plaintiff “carte blanche to obtain all information [it] seeks,” Barback

v. Fisher, No. CV 20-515-SDD-EWD, 2022 WL 965914, at *8 (M.D. La. Mar. 30, 2022). Indeed,

courts allowing the discovery of financial information for punitive damages generally limit the

temporal scope of those documents. See, e.g., Callais v. United Rentals North America, No. 17-

312, 2018 WL 6517446, at *6 (M.D. La. Dec. 11, 2018) (compelling production of annual reports,

financial statements, and federal income tax returns for a three-year period); Briones, 2008 WL



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4630485, at *5 (limiting the plaintiff's discovery of the defendant’s financial information to 2007

and 2008, where an alleged discriminatory act took place in 2007 and the discovery was requested

in 2008). A time period that would not produce relevant documents to the issue at hand is not

reasonable and may be overly broad. See, e.g., Barback v. Fisher, No. CV 20-515-SDD-EWD,

2022 WL 965914, at *9 (M.D. La. Mar. 30, 2022). Moreover, Defendants object to this request as

duplicative of Request for Production No. 12, as Media Matters’s 990 forms contain

comprehensive information on Media Matter’s annual finances. See, e.g., Vertex Aerospace, LLC

v. Womble Bond Dickinson, LLP, No. 309CV00704HTWLGI, 2022 WL 1830715, at *11 (S.D.

Miss. Apr. 26, 2022) (holding request into assets and liabilities were disproportionate to the needs

of the case, given the company’s insurance coverage and its ability to provide a certified statement

of its net worth).

        RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time. Defendants direct Plaintiff to Media Matters’s 990 forms,

most of which have already been produced to Plaintiff. Any remaining 990 forms will also be

produced. These forms provide a comprehensive financial picture of Media Matters, including its

net worth.



REQUEST FOR PRODUCTION NO. 14: All Your bank statements and all documents

sufficient to show Your financial condition during the time period.

        OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, harassing, and disproportionate to the needs of this

case, and for seeking documents not relevant to any claim or defense asserted in this litigation. For

example, this Request requires a blanket production of “[a]ll bank statements and all documents



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sufficient to show [Defendants’] financial condition,” with no indication of why this information—

including personal financial information of an individual reporter—would be material or related

to the claims or defenses at issue in this case. While federal courts allow plaintiffs bringing punitive

damages to engage in pretrial discovery of financial information, Briones v. Smith Dairy Queens,

Ltd., No. 08-48, 2008 WL 4630485, at *5 (S.D. Tex. Oct. 16, 2008), this does not provide plaintiff

“carte blanche to obtain all information [it] seeks,” Barback v. Fisher, No. CV 20-515-SDD-EWD,

2022 WL 965914, at *8 (M.D. La. Mar. 30, 2022). See, e.g., Briones, 2008 WL 4630485, at *7

(limiting discovery of relevant financial information to defendant’s annual reports and/or financial

statements); see also Smith v. DeTar Hosp. LLC, No. CIV.A. V-10-83, 2011 WL 6217497, at *8

(S.D. Tex. Dec. 14, 2011) (limiting financial disclosures to defendant’s most recent financial

statement stating their current net worth and finding that all other discovery requests relating to

net worth—including itemization of assets and liabilities, description of homes, real estate, and

other possessions, salary, total earnings, W-2s and other documents, and financial statements over

several years—were overly burdensome, excessive, and unnecessary); Tingle v. Hebert, No. CV

15-626-JWD-EWD, 2017 WL 2335646, at *7 (M.D. La. May 30, 2017) (finding a request for

“‘any and all documents’ regarding virtually everything [defendant] owns” was “unreasonably

burdensome”); Regions Ins., Inc. v. Alliant Ins. Servs., Inc., No. 3:13-CV-667-HTW-LRA, 2015

WL 1886852, at *7 (S.D. Miss. Apr. 24, 2015) (holding defendant was only required to provide a

current net worth statement, certified by independent auditors, with any supporting documentation

that the auditors include with its statement); Hunter v. Copeland, No. CIV.A. 03-2584, 2004 WL

1562832, at *5 (E.D. La. July 12, 2004) (finding a request for “statements for all credit cards used

by [an employee]” overly broad because it exceeded the limited subject matter of the litigation).




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       RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time. Defendants direct Plaintiff to Media Matters’s 990 forms,

most of which have already been produced to Plaintiff. Any remaining 990 forms will also be

produced. These forms provide a comprehensive financial picture of Media Matters, including its

net worth.



REQUEST FOR PRODUCTION NO. 15: All materials regarding Your insurers, insurance

policies, indemnity rights, or any other third-party payors who may be liable or willing to satisfy

any judgment, liability, or obligation of any kind whatsoever that You may currently owe, that You

may owe in the future, or that You have owed during the time period, including but not limited to

any monetary judgment in this matter.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case and for seeking

documents not relevant to any claim or defense asserted in this litigation. For example, this Request

requires a blanket production of “[a]ll materials regarding Your insurers, insurance policies,

indemnity rights, or any other third-party payors who may be liable or willing to satisfy any

judgment, liability, or obligation of any kind whatsoever,” even where the information would be

immaterial or unrelated to any of Plaintiff’s tort claims, to any computation of damages, or to any

of Defendants’ defenses such as employee medical and dental insurance policies.

       RESPONSE: Defendants direct Plaintiff to Section IV of Defendants’ Initial Disclosures,

served to counsel on March 8, 2024 via email, Defendants’ Amended Initial Disclosures, served to

counsel on May 8, 2024, and any subsequent revisions to Defendants’ Initial Disclosures, which,

pursuant to Federal Rule of Civil Procedure 26 (a)(1)(A)(iv), lists “any insurance agreement under



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which an insurance business may be liable to satisfy all or part of a possible judgment in th[is]

action or to indemnify or reimburse for payments made to satisfy the judgment [in this litigation].”

Defendants will produce any responsive, non-privileged documents related to the issues in this

litigation. Defendants are in the process of collecting and reviewing documents and are not

presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 16: Documents sufficient to show Your expenses and the

identity of the recipients of such expenditures, including but not limited to expenses on salaries,

travel, equipment, real property, solicitation of donations, and any other expenses whatsoever.

       OBJECTIONS: Defendants object to this Request as being overly broad, vague, not

reasonably particularized, unduly burdensome, harassing, and disproportionate to the needs of this

case, and for seeking documents not relevant to any claim or defense asserted in this litigation. For

example, this Request requires producing a high-volume of sensitive financial information—

including a limitless amount of unrestricted “expenses”—that are immaterial or unrelated to any

of Plaintiff’s tort claims, to any computation of damages, or to any of Defendants’ defenses. While

federal courts allow plaintiffs bringing punitive damages to engage in pretrial discovery of

financial information, Briones v. Smith Dairy Queens, Ltd., No. 08-48, 2008 WL 4630485, at *5

(S.D. Tex. Oct. 16, 2008), this does not provide plaintiff “carte blanche to obtain all information

[it] seeks,” Barback v. Fisher, No. CV 20-515-SDD-EWD, 2022 WL 965914, at *8 (M.D. La. Mar.

30, 2022). See, e.g., Briones, 2008 WL 4630485, at *7 (limiting discovery of relevant financial

information to defendant’s annual reports and/or financial statements); see also Smith v. DeTar

Hosp. LLC, No. CIV.A. V-10-83, 2011 WL 6217497, at *8 (S.D. Tex. Dec. 14, 2011) (limiting



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financial disclosures to defendant’s most recent financial statement stating their current net worth

and finding that all other discovery requests relating to net worth—including itemization of assets

and liabilities, description of homes, real estate, and other possessions, salary, total earnings, W-

2s and other documents, and financial statements over several years—were overly burdensome,

excessive, and unnecessary); Tingle v. Hebert, No. CV 15-626-JWD-EWD, 2017 WL 2335646, at

*7 (M.D. La. May 30, 2017) (finding a request for “‘any and all documents’ regarding virtually

everything [defendant] owns” was “unreasonably burdensome”); Regions Ins., Inc. v. Alliant Ins.

Servs., Inc., No. 3:13-CV-667-HTW-LRA, 2015 WL 1886852, at *7 (S.D. Miss. Apr. 24, 2015)

(holding defendant was only required to provide a current net worth statement, certified by

independent auditors, with any supporting documentation that the auditors include with its

statement); Hunter v. Copeland, No. CIV.A. 03-2584, 2004 WL 1562832, at *5 (E.D. La. July 12,

2004) (finding a request for “statements for all credit cards used by [an employee]” overly broad

because it exceeded the limited subject matter of the litigation); Hunter v. Copeland, No. CIV.A.

03-2584, 2004 WL 1562832, at *5 (E.D. La. July 12, 2004) (finding a request for “documents

evidencing transfers of money” to an employee, which largely included salary payments, to be

overly broad).

       RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time. Defendants direct Plaintiff to Media Matters’s 990 forms,

most of which have already been produced to Plaintiff. Any remaining 990 forms will also be

produced. These forms provide a comprehensive financial picture of Media Matters, including its

net worth.




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REQUEST FOR PRODUCTION NO. 17: Documents sufficient to show the identity of all Your

donors or any others who provide financial support of any kind, their residence, the time and place

of their donation or provision of financial support, and the amount of their donations or other

financial support.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case, and

for seeking documents not relevant to any claim or defense asserted in this litigation. For example,

this Request seeks a high-volume of sensitive financial information “of any kind” that is

immaterial or unrelated to any of Plaintiff’s tort claims, to any computation of damages, or to any

of Defendants’ defenses. See, e.g., Hickman v. Taylor, 329 U.S. 495, 507–08, 67 S. Ct. 385, 392,

91 L. Ed. 451 (1947) (“[D]iscovery, like all matters of procedure, has ultimate and necessary

boundaries. As indicated by Rules 30(b) and (d) and 31(d), limitations inevitably arise when it can

be shown that the examination is being conducted in bad faith or in such a manner as to annoy,

embarrass or oppress the person subject to the inquiry. And as Rule 26(b) provides, further

limitations come into existence when the inquiry touches upon the irrelevant or encroaches upon

the recognized domains of privilege.”). Moreover, disclosure of donor identifying information can

lead to donors being harassed for and deterred from affiliating with organizations they support. 7




7
  See, e.g., Americans for Prosperity Foundation v. Bonta, 594 U.S. 595, 616–17 (2021) (“The
petitioners here, for example, introduced evidence that they and their supporters have been
subjected to bomb threats, protests, stalking, and physical violence. App. in No. 19–251, at 256,
291–292. Such risks are heightened in the 21st century and seem to grow with each passing year,




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Indeed, Elon Musk himself has called Media Matters “an evil propaganda machine that can go to

hell” and vowed that X “will pursue not just the organization but anyone funding that organization.

I want to be clear about that anyone funding that organization, will be, we will pursue them”. 8

Plaintiff’s request for this information is inappropriate and not proportional to the needs of this

case.

        RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time. Defendants direct Plaintiff to Media Matters’s 990 forms,

most of which have already been produced to Plaintiff. Any remaining 990 forms will also be

produced. These forms provide a comprehensive financial picture of Media Matters, including its

net worth.



REQUEST FOR PRODUCTION NO. 18: Any document or communication reflecting Your

attempts to solicit donations or financial support of any kind, including but not limited to any

discussions with any donors or any others who provided, considered providing, or were asked to

provide financial support of any kind.




as ‘anyone with access to a computer [can] compile a wealth of information about’ anyone else,
including such sensitive details as a person’s home address or the school attended by his children”)
(internal citation omitted); see also Koch Ally Says He Received Death Threats, Matt Reynolds,
Courthouse News (Feb.25, 2016) (libertarian businessman whose affiliation with the Americans
for Prosperity Foundation was leaked said “he received death threats and had considered quitting
the foundation because he was worried about his family's safety and the adverse effect of protests
outside his North Carolina stores”) (last accessed May 28, 2024).
8
 @TheChiefNerd, X.com (Dec. 10, 2023, 4:24 PM), [https://perma.cc/6L3M-SHX3] (last
accessed May 28, 2024).

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       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case, and

for seeking documents not relevant to any claim or defense asserted in this litigation. For example,

this Request seeks information about any communications soliciting financial support “of any

kind” that is immaterial or unrelated to any of Plaintiff’s tort claims, to any computation of

damages, or to any of Defendants’ defenses. See, e.g., Hickman v. Taylor, 329 U.S. 495, 507–08,

67 S. Ct. 385, 392, 91 L. Ed. 451 (1947) (“[D]iscovery, like all matters of procedure, has ultimate

and necessary boundaries. As indicated by Rules 30(b) and (d) and 31(d), limitations inevitably

arise when it can be shown that the examination is being conducted in bad faith or in such a manner

as to annoy, embarrass or oppress the person subject to the inquiry. And as Rule 26(b) provides,

further limitations come into existence when the inquiry touches upon the irrelevant or encroaches

upon the recognized domains of privilege.”). Moreover, disclosure of donor identifying

information can lead to donors being harassed for and deterred from affiliating with organizations

they support. 9 Indeed, Elon Musk himself has called Media Matters “an evil propaganda machine

that can go to hell” and vowed that X “will pursue not just the organization but anyone funding




9
  See, e.g., Americans for Prosperity Foundation v. Bonta, 594 U.S. 595, 616–17 (2021) (“The
petitioners here, for example, introduced evidence that they and their supporters have been
subjected to bomb threats, protests, stalking, and physical violence. App. in No. 19–251, at 256,
291–292. Such risks are heightened in the 21st century and seem to grow with each passing year,
as ‘anyone with access to a computer [can] compile a wealth of information about’ anyone else,
including such sensitive details as a person’s home address or the school attended by his children”)
(internal citation omitted); see also Koch Ally Says He Received Death Threats, Matt Reynolds,
Courthouse News (Feb.25, 2016) (libertarian businessman whose affiliation with the Americans
for Prosperity Foundation was leaked said “he received death threats and had considered quitting
the foundation because he was worried about his family's safety and the adverse effect of protests
outside his North Carolina stores”) (last accessed May 28, 2024).

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that organization. I want to be clear about that anyone funding that organization, will be, we will

pursue them.” 10 Plaintiff’s request for this information is inappropriate and not proportional to the

needs of this case.

       RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time.



REQUEST FOR PRODUCTION NO. 19: Documents sufficient to identify the recipients of any

communications or email updates, “Action Updates,” or “Weekly Updates” sent out via any email

list that You maintain, as well as any information related to those recipients’ locations, including

but not limited to any self-reported location data and their IP addresses.

       OBJECTION: Defendants object to this Request as being overly broad, not reasonably

particularized, harassing, and disproportionate to the needs of this case, and for seeking documents

not relevant to any claim or defense asserted in this litigation. The identities of individuals who

subscribe to Defendants’ email lists are not relevant to any claims or defenses in this case, and

their disclosure is reasonably likely to subject recipients to harassment. See NAACP v. State of Ala.

ex rel. Patterson, 357 U.S. 449, 462 (1958) (recognizing disclosure of nonprofit organization’s

membership lists would likely result in harassment).

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search for documents that identify the location of recipients of any communications or




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  @TheChiefNerd, X.com (Dec. 10, 2023, 4:24 PM), [https://perma.cc/6L3M-SHX3] (last
accessed May 28, 2024).

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email updates, “Action Updates,” or “Weekly Updates” sent by Defendants via any email list.

Defendants will not provide documents that disclose identifying information of individual

recipients.



REQUEST FOR PRODUCTION NO. 20: Documents sufficient to show Media Matters’

organizational structure, including Board membership, leadership structure, and that of any

affiliated or related entities.

        RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 21: All documents and communications regarding Your

sources of funding for research, investigation, reporting, publication, or any other work related to

X, the Platform, Elon Musk, or Linda Yaccarino.

        OBJECTIONS: Defendants object to this Request as harassing. See, e.g., Hickman v.

Taylor, 329 U.S. 495, 507–08, 67 S. Ct. 385, 392, 91 L. Ed. 451 (1947) (“[D]iscovery, like all

matters of procedure, has ultimate and necessary boundaries. As indicated by Rules 30(b) and (d)

and 31(d), limitations inevitably arise when it can be shown that the examination is being

conducted in bad faith or in such a manner as to annoy, embarrass or oppress the person subject to

the inquiry. And as Rule 26(b) provides, further limitations come into existence when the inquiry

touches upon the irrelevant or encroaches upon the recognized domains of privilege.”). Disclosure



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                                                                                    Supp. App'x 047
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of donor identifying information can lead to donors being harassed for and deterred from affiliating

with organizations they support. 11 Indeed, Elon Musk himself has called Media Matters “an evil

propaganda machine that can go to hell” and vowed that X “will pursue not just the organization

but anyone funding that organization. I want to be clear about that anyone funding that

organization, will be, we will pursue them”. 12 Plaintiff’s request for this information is

inappropriate and not proportional to the needs of this case.

       RESPONSE: Based on the foregoing objections, Defendants will not produce documents

in response to this Request at this time. In any event, Media Matters does not receive any dedicated

funding that is restricted for research, investigation, reporting, publication, or any other work

related to X, the Platform, Elon Musk, or Linda Yaccarino.



REQUEST FOR PRODUCTION NO. 22: All documents concerning, and communications

with, any third-party public relations, advertising, marketing, communications, or similar firm that




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   See, e.g., Americans for Prosperity Foundation v. Bonta, 594 U.S. 595, 616–17 (2021) (“The
petitioners here, for example, introduced evidence that they and their supporters have been
subjected to bomb threats, protests, stalking, and physical violence. App. in No. 19–251, at 256,
291–292. Such risks are heightened in the 21st century and seem to grow with each passing year,
as ‘anyone with access to a computer [can] compile a wealth of information about’ anyone else,
including such sensitive details as a person’s home address or the school attended by his children”)
(internal citation omitted); see also Koch Ally Says He Received Death Threats, Matt Reynolds,
Courthouse News (Feb.25, 2016) (libertarian businessman whose affiliation with the Americans
for Prosperity Foundation was leaked said “he received death threats and had considered quitting
the foundation because he was worried about his family's safety and the adverse effect of protests
outside his North Carolina stores”) (last accessed May 28, 2024).
12
  @TheChiefNerd, X.com (Dec. 10, 2023, 4:24 PM), [https://perma.cc/6L3M-SHX3] (last
accessed May 28, 2024).

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You have contracted with, or that you have contacted in any capacity about the November 16, 2023

Article.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control that they are able to locate following a

reasonable search. Defendants are in the process of collecting and reviewing documents and are

not presently withholding any responsive documents that they have identified. Defendants will

supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 23: All documents and communications related to or

reflecting any travel by Eric Hananoki from October 20, 2023, to December 15, 2023.

       OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, and disproportionate to the needs of this case, and as seeking

documents not relevant to any claim or defense asserted in this litigation. This Request

impermissibly requires blanket production of “[a]ll documents and communications related to or

reflecting any travel” by Mr. Hananoki during the specified time period, even where not reasonably

related to the issues in dispute in this case or the parties’ defenses. This request also is harassing

to Mr. Hananoki, as he is being asked to search through and disclose any and all documents—

including flights, hotels, meal receipts, texts, calls, photographs, and more—related to any travel,

including personal travel with his family that has no relevance to the claims or defenses being

litigated in this case and despite Defendants’ assurances that Mr. Hananoki did not conduct any

work-related travel during the time period. Indeed, Defendants understand from the Parties’ meet-

and-confers that Plaintiff seeks to account for Mr. Hananoki’s whereabouts and activities during

this time period without qualification. Moreover, Defendants further object to this Request as



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                                                                                      Supp. App'x 049
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duplicative of and/or cumulative of other document requests, including Document Requests Nos.

1, 2, 3, 4, 5, 6, 7, 9, 10, 14, 15, 16,17, 18, 19, 20, 21, 22, 24, 25, 28, 30, 31, 32, 33, 34, 36, 37 38,

39, 40, 41, 42, 43, 44, 45, 46, and 47. Any relevant information Plaintiff seeks with this request,

beyond what Defendants have already certified, are captured by X’s many other broad requests.

        RESPONSE: Defendants do not possess any responsive documents relevant to any claim

or defense in this litigation because, as Defendants made clear to Plaintiff in their email of May 2,

2024, Mr. Hananoki did not conduct any travel from October 20, 2023, to December 15, 2023

undertaken in relation to his research or drafting of the November 16, 2023 article. In addition, he

did not travel to Texas in any capacity during this time.



REQUEST FOR PRODUCTION NO. 24: All of Your calendars, journals, schedules, activity

logs, visitors’ logs, diaries, or appointments from October 20, 2023, to December 15, 2023.

        OBJECTIONS: Defendants object to this Request as being overly broad, not reasonably

particularized, unduly burdensome, harassing, and disproportionate to the needs of this case, and

for seeking documents not relevant to any claim or defense asserted in this litigation. For example,

this Request impermissibly requires blanket production of “[a]ll calendars, journals, schedules,

activity logs, visitors’ logs, diaries, or appointments” during the specified time period, even where

not reasonably related to the issues in dispute in this case. This request is also harassing because it

is asking Defendants to essentially account for all of their activities and appointments, including

personal activities and appointments, without qualification.

        RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents related to any of X’s employees, policies, or advertisers listed in the amended complaint

or the issues raised in the amended complaint that are in their possession, custody, or control and



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                                                                                        Supp. App'x 050
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that they are able to locate following a reasonable search. Defendants are in the process of

collecting and reviewing documents and are not presently withholding any responsive documents

that they have identified. Defendants will supplement this response if they identify and withhold

any responsive documents.



REQUEST FOR PRODUCTION NO. 25: All documents and communications related to or

reflecting Your involvement in or knowledge of X and any related entities, individuals, and

platforms.

       OBJECTIONS: The terms “any related entities, individuals, and platforms” are vague and

undefined. Defendants will accordingly interpret “related entities” to include X Holdings Corp.,

X’s holding company. Defendants will interpret “related individuals” to mean former and current

X or Twitter employees, executives, and board members. Defendants will interpret “related

platforms” to include Twitter. To the extent Plaintiff means something else with any of these terms,

Defendants object to the request as vague absent identification from Plaintiff of who and what it

considers to be “related entities, individuals, and platforms.”

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control, based on their understanding of the relevant

terms, that they are able to locate following a reasonable search. Defendants are in the process of

collecting and reviewing documents and are not presently withholding any responsive documents

that they have identified. Defendants will supplement this response if they identify and withhold

any responsive documents.




                                                 25

                                                                                    Supp. App'x 051
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                   Page 52 of 121 PageID 2415



REQUEST FOR PRODUCTION NO. 26: All documents and communications related to or

reflecting Media Matters’ Board’s involvement in or knowledge of X and any related entities,

individuals, and platforms.

       OBJECTIONS: The terms “any related entities, individuals, and platforms” are vague and

undefined. Defendants will accordingly interpret “related entities” to include X Holdings Corp.,

X’s holding company. Defendants will interpret “related individuals” to mean former and current

X or Twitter employees, executives, and board members. Defendants will interpret “related

platforms” to include Twitter. To the extent Plaintiff means something else with any of these terms,

Defendants object to the request as vague absent identification from Plaintiff of who and what it

considers to be “related entities, individuals, and platforms.” Defendants also object to this request

because it seeks materials outside of Defendants’ possession, custody, or control in violation of

Fed. R. Civ. P. 26 and 34.

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control, based on their understanding of the relevant

terms, that they are able to locate following a reasonable search and in light of Defendants

interpretation of the terms. Defendants are in the process of collecting and reviewing documents

and are not presently withholding any responsive documents that they have identified. Defendants

will supplement this response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 27: All documents and communications related to or

reflecting Media Matters’ donors’ involvement in or knowledge of X and any related entities,

individuals, and platforms.




                                                 26

                                                                                      Supp. App'x 052
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       OBJECTIONS: The terms “any related entities, individuals, and platforms” are vague and

undefined. Defendants will accordingly interpret “related entities” to include X Holdings Corp.,

X’s holding company. Defendants will interpret “related individuals” to mean former and current

X or Twitter employees, executives, and board members. Defendants will interpret “related

platforms” to include Twitter. To the extent Plaintiff means something else with any of these terms,

Defendants object to the request as vague absent identification from Plaintiff of who and what it

considers to be “related entities, individuals, and platforms.” Defendants also object to this request

because it seeks materials outside of Defendants’ possession, custody, or control in violation of

Fed. R. Civ. P. 26 and 34(a). Defendants further object to the disclosure of donor identification

information as harassing. Disclosure of donor identifying information can lead to donors being

harassed for and deterred from affiliating with organizations they support. 13 Indeed, Elon Musk

himself has called Media Matters “an evil propaganda machine that can go to hell” and vowed that

X “will pursue not just the organization but anyone funding that organization. I want to be clear




13
   See, e.g., Americans for Prosperity Foundation v. Bonta, 594 U.S. 595, 616–17 (2021) (“The
petitioners here, for example, introduced evidence that they and their supporters have been
subjected to bomb threats, protests, stalking, and physical violence. App. in No. 19–251, at 256,
291–292. Such risks are heightened in the 21st century and seem to grow with each passing year,
as ‘anyone with access to a computer [can] compile a wealth of information about’ anyone else,
including such sensitive details as a person’s home address or the school attended by his children”)
(internal citation omitted); see also Koch Ally Says He Received Death Threats, Matt Reynolds,
Courthouse News (Feb.25, 2016) (libertarian businessman whose affiliation with the Americans
for Prosperity Foundation was leaked said “he received death threats and had considered quitting
the foundation because he was worried about his family's safety and the adverse effect of protests
outside his North Carolina stores”) (last accessed May 28, 2024).

                                                 27

                                                                                      Supp. App'x 053
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about that anyone funding that organization, will be, we will pursue them”. 14 Plaintiff’s request

for this information is inappropriate and not proportional to the needs of this case.

       RESPONSE: Defendants will produce on a rolling basis, any responsive, nonprivileged

documents in their possession, custody, or control, based on their understanding of the relevant

terms, that they are able to locate following a reasonable search. Defendants will not search for or

produce materials outside of Defendants’ possession, custody, or control, nor will Defendants

produce identifying donor information in response to this request. Defendants are in the process

of collecting and reviewing documents and are not presently withholding any responsive

documents that they have identified. Defendants will supplement this response if they identify and

withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 28: All documents and communications related to or

reflecting Media Matters’ employees’ involvement in or knowledge of X and any related entities,

individuals, and platforms.

       OBJECTIONS: The terms “any related entities, individuals, and platforms” are vague and

undefined. Defendants will accordingly interpret “related entities” to include X Holdings Corp.,

X’s holding company. Defendants will interpret “related individuals” to mean former and current

X or Twitter employees, executives, and board members. Defendants will interpret “related

platforms” to include Twitter. To the extent Plaintiff means something else with any of these terms,

Defendants object to the request as vague absent identification from Plaintiff of who and what it




14
  @TheChiefNerd, X.com (Dec. 10, 2023, 4:24 PM), [https://perma.cc/6L3M-SHX3] (last
accessed May 28, 2024).

                                                 28

                                                                                        Supp. App'x 054
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                   Page 55 of 121 PageID 2418



considers to be “related entities, individuals, and platforms.” Defendants also object to this request

because it seeks materials outside of Defendants’ possession, custody, or control in violation of

Fed. R. Civ. P. 26 and 34(a).

       RESPONSE: Defendants will produce on a rolling basis any responsive, nonprivileged

documents in their possession, custody, or control, based on their understanding of the relevant

terms, that they are able to locate following a reasonable search through the relevant custodians’

files. Defendants are in the process of collecting and reviewing documents and are not presently

withholding any responsive documents that they have identified. Defendants will supplement this

response if they identify and withhold any responsive documents.



REQUEST FOR PRODUCTION NO. 29: All documents and communications related to or

reflecting Media Matters’ advertisers’ and agencies’ involvement in or knowledge of X and any

related entities, individuals, and platforms.

       OBJECTIONS: The terms “any related entities, individuals, and platforms” are vague and

undefined. Defendants will accordingly interpret “related entities” to include X Holdings Corp.,

X’s holding company. Defendants will interpret “related individuals” to mean former and current

X or Twitter employees, executives, and board members. Defendants will interpret “related

platforms” to include Twitter. To the extent Plaintiff means something else with any of these terms,

Defendants object to the request as vague absent identification from Plaintiff of who and what it

considers to be “related entities, individuals, and platforms.” Defendants also object to this request

because it seeks materials outside of Defendants’ possession, custody, or control in violation of

Fed. R. Civ. P. 26 and 34(a).




                                                 29

                                                                                      Supp. App'x 055
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       RESPONSE: Defendants do not possess any documents that are responsive to this Request

because Media Matters does not have any advertisers or agencies.


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Theodore J. Boutrous, Jr.* (CA 132099)         Jacob D. Shelly* (DC 90010127)
333 South Grand Avenue                         Daniela Lorenzo* (NY 5780457) 250
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tboutrous@gibsondunn.com                       F: (202) 986-4498
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            Counsel for Defendants Media Matters for America and Eric Hananoki




                                              30

                                                                              Supp. App'x 056
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                              Tab 5




                                                                 Supp. App'x 057
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                                                                                                          Page 58 of 121 PageID 2421

From:                Alex Dvorscak
To:                  Abha Khanna; Daniela Lorenzo; Jacob Shelly; LeGrand, Andrew; Ahmed, Amer S.
Cc:                  Boutrous Jr., Theodore J.; Elena Rodriguez Armenta; Champion, Anne; Omeed Alerasool; Chris Dodge; Aria Branch; Samuel Ward-Packard; Mindy Johnson; Chris Hilton; Cody Coll; Tom Albright; Ari Cuenin; Judd E. Stone,
                     II; john.sullivan@the-sl-lawfirm.com; Bonnie Chester; Michael Abrams; Alithea Sullivan
Subject:             RE: X/MMFA - Defendants" Fifth Production
Date:                Friday, August 9, 2024 1:22:47 PM



Hi Abha,

We are currently in the process of reviewing your most recent production and amended privilege log to see if it addressed the concerns we raised on
our call. We will respond more substantively to your proposal next week.

Best,
-Alex Dvorscak
STONE|HILTON PLLC
alex@stonehilton.com|(518) 772-8657


From: Abha Khanna <akhanna@elias.law>
Sent: Friday, August 2, 2024 6:51 PM
To: Alex Dvorscak <alex@stonehilton.com>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed,
Amer S. <AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Alex and Chris,

Thank you again for meeting with us today for a productive conversation on resolving outstanding discovery issues. As promised, attached is our amended privilege
log and below is both a summary of what we discussed during our call and Defendants’ proposal for how the parties can move forward with the discovery Plaintiff
seeks.

The parties discussed three issues Plaintiff identified as potential discovery disputes that would form the basis of Plaintiff’s motion to compel:

    1. Whether Defendants should be required to turn over donor-related information.
         a. The parties agreed this dispute is ripe for Court intervention and Plaintiff plans to move to compel these documents on or after Monday of next week.

    2. Defendants’ document-by-document privilege assertions on their first privilege log.
         a. Defendants’ amended privilege log seeks to assuage the various log-related concerns Plaintiff raised during the parties’ last meet-and-confer.
         b. To the extent Plaintiff has further concerns regarding the amended log or documents identified therein, the Parties will confer (we will make ourselves
            available for such a conversation early next week).

    3. Defendants’ objections and responses to subsection (4) of Plaintiff’s Interrogatory Nos. 7 and 8.
         a. Defendants clarified that their objection is not based on privilege or a refusal to search for and produce “any comments, revisions, feedback, or
            approval” in relation to the November 16 and 17 articles. Rather, Defendants objected that producing this information in a written interrogatory is
            inefficient and that they will, instead, produce responsive documents.
         b. Defendants also reiterated that they are not categorically withholding as privileged or refusing to produce documents related to the November 16 and 17
            articles.

Please confirm that these are all the issues Plaintiff contemplated for its above-referenced motion to compel.

Additionally, recognizing that both parties have an interest in ensuring discovery is productive and efficient, Defendants are proposing a modified approach to
searching for and producing the documents Plaintiff has requested:

    1. The parties will come together to identify the set of document requests that are essential to the maintenance of X’s claims, as Alex began to do in his email
       earlier today.
    2. Defendants will then modify their search and review parameters to target these categories of documents.
    3. The parties will agree that Defendants will no longer need to review, produce, or log the documents that fall outside of these categories.

We believe this approach is consistent with the legal standard set forth in the Texas Press Shield Law, will significantly streamline discovery moving forward, and
will reduce discovery fights and therefore the need to burden the Court. Defendants understand and share Plaintiff’s desire for expediency and believe that—while
we may need to iron out the details of any proposal to come to a mutually agreeable resolution—the parties are more aligned than we are divided on this issue.

Given our conversation earlier, we remain optimistic about reaching a compromise that serves both parties’ interests while respecting the Court’s time. We look
forward to keeping these lines of communication open and conferring on the above issues in good faith.

Best,
Abha

Abha Khanna
Elias Law Group LLP
1700 Seventh Ave Ste 2100
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206-656-0177
akhanna@elias.law

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you have received this email in error, please notify the sender immediately and delete it from your system.


From: Alex Dvorscak <alex@stonehilton.com>
Sent: Friday, August 2, 2024 9:38 AM
To: Abha Khanna <akhanna@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed, Amer S.
<AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed



                                                                                                                                                                                                       Supp. App'x 058
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                                                                                                  Page 59 of 121 PageID 2422

Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Abha,

The documents central to our disagreements regarding privilege have been obvious to both sides and we have been discussing them for months.
However, to facilitate our discussion, we have identified the following categories of documents that have not been produced and over which you
may be asserting privilege, but which have not yet appeared on a privilege log. Note that this is an illustrative list, not a complete one.

      Notes, drafts, and sources of the Articles (see X’s MTC at 14).
      Communications between or among Hananoki, Sharon Kann, Michale Eberhart, Ben Dimiero, Kayla Gogarty, and/or Andrea Austria
      regarding the Articles (see MMFA’s responses to ROGs 7 and 8).
      All documents that the Court compelled in its order dated June 6, 2024. This includes “all documents in [Your] possession and control
      responsive to RFP Nos. 13-16, 23-24, 37-38, and 46.” Dkt. 65 at 3.
As we discussed during our last call, we cannot wait months before these documents are produced or logged. Our goal is to only burden the Court
with the substantive legal issues of privilege—we hope we can work out the procedural mechanics of discovery together in good faith.

Looking forward to discussing this in more detail on today’s call.

Best,
-Alex Dvorscak
STONE|HILTON PLLC
alex@stonehilton.com|(518) 772-8657


From: Alex Dvorscak
Sent: Thursday, August 1, 2024 11:18 AM
To: Abha Khanna <akhanna@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed, Amer S.
<AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Abha,

Friday at 1 ET/12 CT works for us. I’ll send around a Zoom link.
We will respond to the additional points raised in your email yesterday so that you know our positions prior to the conference.

Best,
-Alex Dvorscak
STONE|HILTON PLLC
alex@stonehilton.com|(518) 772-8657


From: Abha Khanna <akhanna@elias.law>
Sent: Wednesday, July 31, 2024 3:21 PM
To: Alex Dvorscak <alex@stonehilton.com>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed,
Amer S. <AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Alex,

Our team is available Friday at 1 ET/12 CT. We have greater availability on Monday if that time does not work for you.

Best,
Abha


Abha Khanna
Elias Law Group LLP
1700 Seventh Ave Ste 2100
Seattle WA 98101
206-656-0177
akhanna@elias.law

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you have received this email in error, please notify the sender immediately and delete it from your system.


From: Alex Dvorscak <alex@stonehilton.com>



                                                                                                                                                                                            Supp. App'x 059
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                                                                                                  Page 60 of 121 PageID 2423

Sent: Wednesday, July 31, 2024 9:09 AM
To: Abha Khanna <akhanna@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed, Amer S.
<AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Hi Abha,

It looks like there’s a few issues for us to discuss. Can you please let me know your availability to confer tomorrow afternoon or Friday morning?

Best,
-Alex Dvorscak
STONE|HILTON PLLC
alex@stonehilton.com|(518) 772-8657


From: Abha Khanna <akhanna@elias.law>
Sent: Tuesday, July 30, 2024 3:48 PM
To: Alex Dvorscak <alex@stonehilton.com>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed,
Amer S. <AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Alex,

First, thank you for sending these cases. As you are aware, two of them are out-of-Circuit, all of them are non-controlling district court opinions, and—most
importantly—none of them finds waiver where a privilege was noted on a timely privilege log. Accordingly, your cited authority does not support your position. If you
have no better authority, then our position is that your proposed motion is frivolous and we are, accordingly, at an impasse regarding any waiver of Texas’s press
shield law. Cf. Fed. R. Civ. P. 11(b), (c).

Second, our initial privilege log fully complied with the protocol that you and your colleagues negotiated. As a courtesy, we have agreed to revisit that protocol to
increase clarity for all parties. An amended privilege log will be forthcoming this week.

Third, we are confused by your refrain that Defendants “refuse to log all responsive documents.” If you are referring to our refusal to independently search for donor-
related documents, we agree that that the privileged status of donor-related documents is ripe for the Court’s resolution. Are you also referring to other categories of
documents? If so, please identify them promptly so that we can ascertain the nature of any dispute.

Finally, as I noted in my previous email, it appears the parties have a mutual interest in increasing transparency about the pace of future document productions. To
that end, we propose the following interim deadlines:

    1. Wednesday, August 7: parties exchange search terms and full custodian lists.
    2. Friday, October 11: parties substantially complete document productions in response to requests served to date.
    3. Revised privilege log exchange:
          1. Friday, September 6: first mutual exchange [same as in current agreement]
          2. Friday, October 4: second mutual exchange [changed from October 11 under current agreement]
          3. Friday, November 1: third and final mutual exchange [changed from November 15 under current agreement]
          4. This schedule would omit a fourth privilege log in December to allow productions and logs to be complete by the beginning of November.

We welcome Plaintiff’s feedback on the above, and we remain available to confer as necessary. While the parties may not be able to reach agreement on all issues,
there is no basis for motions practice when parties remain confused—as we do—about the nature of any dispute. See LR 7.1(a).

Best,
Abha

Abha Khanna
Elias Law Group LLP
1700 Seventh Ave Ste 2100
Seattle WA 98101
206-656-0177
akhanna@elias.law

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From: Alex Dvorscak <alex@stonehilton.com>
Sent: Monday, July 29, 2024 8:33 PM
To: Abha Khanna <akhanna@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed, Amer S.
<AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Hi Abha,



                                                                                                                                                                                            Supp. App'x 060
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                                                                Page 61 of 121 PageID 2424


This case has already been substantially delayed; accordingly, X will be filing its second/renewed motion to compel this Friday. However, as stated
last week, we are willing to make ourselves available at any time between now and then to confer.
In the interest of making any conferral more productive, I’ve addressed a few points from your email below:
      Regarding waiver: we explained our position during the meet-and-confer. To the extent that what you are now requesting are legal citations,
      please see the following, non-exhaustive opinions, which collectively support our position:
            Janvey v. Alguire, No. 3:09-cv-00724-N-BQ, 2018 WL 11362638 (N.D. Tex. Oct. 17, 2018)
            Eureka Fin. Corp. v. Hartford Acc. & Indem. Co., 136 F.R.D. 179 (E.D. Cal. 1991)
            Burch v. Regents of the University of Cal., No. CIV. S-04-0038 WBS GGH, 2005 WL 6377313 (E.D. Cal. Aug. 30, 2005)
      Regarding the amended privilege log: we cannot delay the case to indefinitely wait on an amended log. For example, we did not meet-and-confer last
      Friday, as you state, but the week prior. We expect that you will serve us an amended privilege log ASAP, otherwise we will not hesitate to add
      your delay in providing one to our motion to compel.
      Regarding privilege assertions: it is insufficient for you to say that you’re asserting privilege arguments on a document-by-document basis when you
      refuse to log all responsive documents and when the Court specifically asked for the parties to “meaningfully concur” on the extent of the
      First Amendment privileges asserted.
            If our understandings of your privilege arguments are incorrect, please correct us in writing. If you continue to refuse to confer, we will
            raise your refusal to clarify the scope of your privilege assertions in our motion.
      Regarding Defendants’ discovery requests: your email equates apples and oranges. Plaintiff served their requests on February 5, 2024. We have been
      waiting nearly six months and have received only a few thousand documents out of the terabytes of information you claim to have collected.
      By contrast, Defendants served their requests in May. We are not the cause of delay here—and have been making productions apace with
      several thousand pages produced and more on the way.
As stated up front, I am willing to meet-and-confer at any time between now and Friday evening. My hope is always that we can narrow our dispute
and limit the need for Court intervention as much as possible, particularly given the parties clear disagreement over certain issues of governing law.

Best,
-Alex Dvorscak
STONE|HILTON PLLC
alex@stonehilton.com|(518) 772-8657


From: Abha Khanna <akhanna@elias.law>
Sent: Monday, July 29, 2024 6:23 PM
To: Alex Dvorscak <alex@stonehilton.com>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed,
Amer S. <AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Hi Alex,

With regard to the two issues that you believe are ripe for adjudication, we agree that the privileged status of donor information is ready for the court’s review, but
we disagree that your argument that Defendants have somehow waived the Texas Shield Laws is similarly ripe. Despite repeated requests, we still have not
received any legal authority from you suggesting that (i) the preservation of a privilege objection in RFP responses, coupled with (ii) the specific invocation of a
privilege on a first privilege log can lead to the extreme result of complete waiver.

We remind you that your first motion to compel was filed before you provided us with your intended legal arguments and citations, and thus needlessly involved the
court in matters that could be (and to a large extent, have been) resolved in conferrals. See, e.g., Dondi Properties Corp. v. Com. Sav. & Loan Ass’n, 121 F.R.D.
284, 289 (N.D. Tex. 1988). If you have any authority indicating the Defendants waived the Press Shield law despite (1) our assertion of “the First Amendment
privilege and reporter’s privilege” “as well as any other applicable privilege or shield law” in our RFP responses and (2) our document-by-document privilege
objections/assertions, please provide it for our review immediately. If you have no such authority, of course a motion would be inappropriate. Moreover, Defendants
have already committed to re-serving our June 28 privilege log following the parties’ meet and confer last Friday. Raising any log-related issues with the Court
before Plaintiff can assess whether it disagrees with Defendants’ revised privilege designations is similarly inappropriate.

With regard to your questions about our June 28 privilege log, each of your four assertions is mistaken. The privilege objections we raised in our log apply to the
individual documents that were logged. Defendants have and will continue to raise objections on a document-by-document basis. Thus, it is possible that some
documents falling within the four categories you enumerate will be produced and that other documents within those categories will be withheld or redacted and
logged based on the Texas Press Shield laws, the First Amendment, or any other relevant privilege.

Finally, we would like to resolve the confusion you expressed regarding our production and privilege schedule. As we have indicated many times, the search terms
merited by your broad discovery requests have pulled in an enormous quantity of documents for review. We are aware that some of these documents will contain
drafts of articles, some may contain donor information, and many will be irrelevant to the claims or defenses at issue. Our recognition that draft articles exist,
however, was not a representation that we had yet identified and reviewed every needle in the haystack.

It is conspicuous that you fault Defendants for referencing future document productions in their interrogatory responses when Plaintiff, of course, did the exact same
thing. See X’s R&Os to MMFA’s 1st and 2nd Interrogatories Nos. 2, 3, 5, and 7. It appears that the parties have a mutual interest in identifying reciprocal
expectations about future document productions to ensure that the documents each side regards as essential are produced at a pace sufficient to leave time for
deposition preparation and, where necessary, the Court’s involvement. We are discussing possible approaches internally and will share our recommendation by
early next week.

Defendants continue to remain open to conferring to reach mutually satisfactory resolutions to our differences, but stress that it cannot be a one-way conversation
where one party makes concessions and compromises while the other simply repeats its same arguments without legal support. Good-faith efforts at discovery will
be a more effective use of everyone’s time and resources—including the Court’s.

Best,
Abha

Abha Khanna
Elias Law Group LLP




                                                                                                                                                Supp. App'x 061
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From: Alex Dvorscak <alex@stonehilton.com>
Sent: Friday, July 26, 2024 6:04 AM
To: Abha Khanna <akhanna@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed, Amer S.
<AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Hi Abha,

Thank you for last Friday’s meet-and-confer and your follow-up email. With a few exceptions, it appears we have narrowed the privilege disputes to
two issues ripe for adjudication.

First, the parties disagree about whether the Texas “Press Shield Laws” was waived or applies at all. We dispute your mischaracterization of prior
meet-and-confers as having discussed Texas “Press Shield Laws” (they have not) and the appropriate level of specificity needed to lodge a proper
privilege objection. But this disagreement should not foreclose prompt adjudication of your privilege claim, which presents a purely legal question
regarding the scope and applicability of Texas “Press Shield Laws.” To diligently follow the Court’s amended scheduling order, we intend to file a
motion to compel next Friday, August 2. We are, of course, willing to confer again if you believe additional conversations will further narrow the
parties’ disputes.

Second, the parties’ dispute about donor information is also ripe for Court resolution. You indicated that Defendants’ interrogatory responses
would tee up the question of whether Defendants must disclose donor information. We have reviewed your interrogatory responses and agree.
Defendants have made clear they will not search for or produce documents regarding donor information—let alone log the documents. X believes
Defendants are required to do so, and so intends to compel a complete interrogatory response on Friday, August 2. Because the legal issue
appears ripe for court resolution, we do not understand further discussion to be required. If you disagree and wish to discuss further, please let us
know.

Defendants’ position is unclear regarding the drafts of the November 16 and 17 articles and any editing, feedback, or other communications
regarding the Articles that Defendant Hananoki received. For months, X’s position that it seeks such information was clearly made through
requests for production, meet-and-confers, and interrogatories. Now in your email response below you misconstrue our position as seeking “core
documents” somehow separate and apart from its as-served RFPs. This characterization is both untrue and unhelpful.

X was surprised by Defendants’ privilege log because it contains none of these documents. You claim that these documents have not been
“identified to date,” placing the quoted words in bold text. But that position facially contradicts countless representations made by Defendants.
Defendants have consistently identified these documents as privileged from the very first meet-and-confer and at every subsequent meet-and-confer
thereafter. These conferences have always referred to Hananoki’s notes, drafts of the Article, and Donor identification and Defendants have always
referred to these as documents they consider privileged. Since these are documents that Defendants have consistently discussed during meet-and-
confers (and represented to the Court) as being privileged, they must have been identified by now. X will not accept a situation where Defendants
have placed these documents on the bottom of the production stack such that X will receive these documents—or see them logged—for the first
time at the close of discovery.

Although you stated on the call that the interrogatory responses would clarify Defendants’ privilege objections regarding these documents and the
application of the First Amendment and Texas “Press Shield laws,” they do not. Instead, Defendants say that X must wait for “Defendants’
forthcoming responses to requests for production for further information about specific feedback Mr. Hananoki received” about the Articles prior
to publication. Once again, this contradicts your claim that these documents have not been “identified to date,” further reinforcing how Defendants
must have identified some documents regarding the “specific feedback” that Defendant Hananoki received.

Making X guess about what will be produced and when does not comport with the Court’s instruction that the parties meaningfully confer to clarify
the privilege dispute and that required Defendants to alert the Court as to “whether any dispute regarding the assertion of First Amendment
privileges remain.” ECF No. 65 at 3. Please let us know when Defendants will receive a privilege log listing these documents and the production of
documents referenced in Defendants’ interrogatory responses. Otherwise, to keep this case moving in compliance with the Court’s schedule, we will
have no choice but to raise this issue in the motion to compel.

With respect to the items you have identified on your June 28, 2024 privilege log, below is our understanding of Defendants’ assertions of privilege.
We ask that you advise us by Wednesday, July 31 if any of these understandings are mistaken so that the parties can cleanly tee up these issues for
judicial resolution.
   1. Defendants assert that all communications between Defendant Hananoki and any Media Matters editors about the Articles are privileged
      under Texas “Privilege Shield Laws” but not under the First Amendment.
   2. Defendants assert that all drafts of the Articles are privileged under Texas “Privilege Shield Laws” but not under the First Amendment.
   3. Defendants assert that all internal communications about other articles published by Media Matters are privileged under the Texas Shield Law
      but not under the First Amendment.
   4. Defendants assert that all communications with third parties as part of drafting, researching, or revising articles written by Media Matters is




                                                                                                                                                                                            Supp. App'x 062
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        privileged under both the Texas Sheild Law and the right of association protected by the First Amendment.

Lastly, we agree to the revised format for privilege logs that you propose below. However, we continue to object to any descriptors of third parties
(e.g., “strategic vendor”) that are undefined and vague. We expect that any revised descriptions will provide sufficient information for both X and
the Court to evaluate each privilege claim.

Best,
-Alex Dvorscak
STONE|HILTON PLLC
alex@stonehilton.com|(518) 772-8657


From: Abha Khanna <akhanna@elias.law>
Sent: Wednesday, July 24, 2024 12:34 PM
To: Alex Dvorscak <alex@stonehilton.com>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed,
Amer S. <AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Alex,

Thank you for meeting and conferring on Friday evening. Below is a summary of the key takeaways from our discussion:

First, regarding your concerns—expressed for the first time on our call—that Defendants had not included on their privilege log all materials that X considers “core
documents,” Defendants explained that X’s discovery requests do not make any distinction regarding which documents X considers “core” to their case. Instead, X’s
requests seek every document in Defendants’ possession that even mention broad terms or concepts (such as “content moderation,” RFP No. 6) that are a regular
component of Defendants’ work. As Defendants have repeatedly explained, this search has swept in an incredible volume of documents for review. That review
continues every day.

Defendants’ first privilege log identified documents that had been reviewed and determined to be privileged as of the date of that log. The parties have mutually
agreed to subsequent privilege log exchanges through the end of the year, recognizing that it will likely take several months to review all potentially responsive
documents. This sequencing is consistent with a fair reading of the Court’s orders and the parties’ own agreements. The Court’s June 6 order, as you know, was
entered when discovery was set to close on July 29—that is, before the parties jointly sought an extension and thus before the Court recognized “the volume and
complexity of ongoing document discovery” and extended the discovery deadline until December 31. See ECF No. 69. The parties subsequently negotiated a
revised privilege log agreement, and on June 10 we memorialized via email an agreement reached by phone on how to proceed: “With respect to the June 28
‘Deadline for Defendants to Provide First Privilege Log and Associated Documents,’ the parties understand that on June 28 Defendants will produce a log of any
privileged documents identified to date, along with copies of any redacted documents referenced therein, with additional document productions and privilege
logs to follow in accordance with the parties’ forthcoming Privilege Log Agreement.” Then on July 2 we agreed to future privilege log exchanges in September,
October, November, and December, and further agreed that this course of conduct did not require the Court’s imprimatur. Just as X did not produce all responsive
documents in its first (and so far, only) document production, it was not reasonable to expect Defendants to log all privileged documents in their first of several
scheduled privilege logs, particularly since the parties had already stipulated that “neither side can reasonably meet the existing discovery deadlines.” ECF No. 66 at
3. To the extent X now recognizes that the documents relevant to this case can be found through requests much narrower than those that X has served to date,
Defendants welcome revised RFPs to expedite the review and logging of responsive documents.

In response to X’s related concern about the lack of donor-related documents on their first privilege log, Defendants explained that this dispute is best presented for
the Court’s adjudication based on Defendants’ responses and objections to X’s interrogatories. Because Defendants are not separately searching for donor-related
documents (as made clear in our objections and responses), these documents will appear on our privilege log only to the extent the documents are responsive to
search terms generated by other requests. No such documents had been established as responsive and privileged as of the date of our first log.

Second, regarding your suggestion that Defendants waived any invocation of Texas’s press shield law by failing to raise it in earlier discussions, in our July 19 email
we pointed you to the shield objection raised in our very first responses and objections, and we further reminded you during our call that the shield law was
discussed in the parties’ very first discovery meet-and-confer in April. Where X has insisted that Defendants not employ general objections before document review
has completed, see, e.g., ECF No. 64 at 3 (X complaining that Defendants’ invocation of the shield law in their original responses and objections lacked specificity),
it is unreasonable to fault Defendants for raising privilege objections on a document-by-document basis, as contemplated by case law. To date, you have failed to
provide us with any authority suggesting that a party waives a privilege by identifying it on their first privilege log.

Third, regarding your inquiry into the scope of Texas’s press shield law, the parties agreed that the text of the statute speaks for itself. As we explained via email
and on our call, the press shield is directly applicable to a media organization like Media Matters and journalists like Mr. Hananoki. During our recent call, we further
explained that Defendants’ first privilege log invokes the shield law only for documents with no conceivable relevance to this case and that are thus clearly not
“essential to the maintenance of a claim or defense.” Tex. Civ. Prac. & Rem. Code § 22.024.

Fourth, in both our July 19 email and subsequent discussion, Defendants agreed to discuss revisions to the privilege protocol and document descriptions to
enhance clarity about the nature of documents being withheld. In response, we have prepared an example of a revised privilege log entry:

 Bates Number      Status       Document       From/ Author                  To     CC     BCC     Date     Privilege        Document Description
                                Type                                                                        Designation
 MMFA_013760       Withheld     Word           Pamela Vogel                                        12/5/    First            Agenda for an internal MMFA meeting
                                               pvogel@mediamatters.org                             2022     Amendment        regarding strategy for avenues of
                                                                                                            Privilege; TX    journalistic research and writing for the
                                                                                                            Press Shield     year, much of which was ultimately not
                                                                                                            Laws             pursued by the organization. The
                                                                                                                             document summarizes right-wing media
                                                                                                                             trends and includes a few stray references
                                                                                                                             to Musk or Twitter outside the context of
                                                                                                                             Musk’s incendiary remarks or Twitter’s
                                                                                                                             advertisement placement.

                                                                                                                             TX Press Shield Law: This document
                                                                                                                             reflects confidential and sensitive
                                                                                                                             journalistic decision-making processes.

                                                                                                                             First Amendment Associational




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                                                                                                                                                                   Privilege: This document contains internal
                                                                                                                                                                   communications concerning strategy and
                                                                                                                                                                   messaging.

If this addresses the concerns that you raised, Defendants will reproduce the entire log with similar changes.

Best regards,


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akhanna@elias.law

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you have received this email in error, please notify the sender immediately and delete it from your system.


From: Abha Khanna
Sent: Friday, July 19, 2024 1:20 PM
To: Alex Dvorscak <alex@stonehilton.com>; Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Ahmed,
Amer S. <AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Alex,

In advance of our call, to facilitate meaningful discussion and a good-faith attempt by both sides to resolve the issues, please find below Defendants’ preliminary
responses to the concerns you raised:

First, Defendants’ Texas Press Shield Law assertions are timely. Contrary to your representations, our original responses and objections to X’s First and Second
RFP sets did reference shield laws—we objected to producing “documents or communications that are protected by the attorney-client privilege, work-product
doctrine, and/or any other applicable privilege or shield law, and/or constitute trial preparation material within the meaning of Rule 26.” (emphasis added); see
also ECF 64, Pls’ Reply in Support of its Motion to Compel at 3 (“As X detailed in its motion, Defendants asserted a catchall objection to X’s requests for production
for attorney-client privileges, work-product protections, “and/or any other applicable privilege or shield law, and/or constitute trial preparation material within the
meaning of Rule 26.”). Because Defendants were still in the process of collecting and reviewing initial batches of documents, we could not be certain at that time
what information would be found in the documents and which privileges would be implicated. You objected to the use of general objections that were not tied to
specific documents, and so Defendants removed this language from subsequent amendments to our discovery responses and agreed to log privilege objections on
a document-by-document basis. See, e.g., Second Amended Responses and Objections to Plaintiff’s 1st Requests for Production; Amended Responses and
Objections to Plaintiff’s 1st Requests for Production to Carusone; Amended Responses and Objections to Plaintiff’s 2nd Requests for Production. Moreover,
Defendants continued to raise the possibility that shield law privileges would be implicated and to preserve our right to make the objection if it was implicated. In our
joint ESI Protocol, Defendants expressly added privilege preservation language that states: “Nothing in this Stipulation shall be interpreted to require disclosure of
relevant information protected by the attorney-client privilege, attorney work-product doctrine, First Amendment Privilege, reporter’s privilege, shield laws, or any
other applicable privilege or immunity.” See ECF 67 at 2.

Contrary to Plaintiff’s shifting argument, Defendants’ assertion of this privilege could not have been both premature when raised in their initial R&Os and yet also too
late when raised in their first privilege log. La Union Del Pueblo Entero v. Abbott, No. SA-21-CV-00844-XR, 2022 WL 17574079, at *9 (W.D. Tex. Dec. 9, 2022)
(quoting Taylor Lohmeyer Law Firm P.L.L.C. v. United States, 957 F.3d 505, 510 (5th Cir. 2020)) (noting the “assertions of privilege must ‘be specifically asserted’
on a document-by-document basis,” as “the relevance and need for the document clearly depend on the contents of the document itself”). (To be clear, nor have
Defendants waived privileges that they did not assert in their first log. Waiver would occur only as to specific documents that Defendants voluntarily and knowingly
disclose. See, e.g., AHF Community Dev., LLC v. City of Dallas, 258 F.R.D. 143, 148 (N.D. Tex. 2009).)

Second, the Texas Press Shield Law privilege is applicable. “Under Fed. R. Evid. 501, the availability of a privilege in a diversity case is governed by the law of the
forum state,” allowing Defendants to assert privileges provided by Texas law. Miller v. Transamerican Press, Inc., 621 F.2d 721, 724 (5th Cir.), opinion
supplemented on denial of reh’g, 628 F.2d 932 (5th Cir. 1980). The relevant statute, Tex. Civ. Prac. & Rem. Code Ann. § 22.023 provides that “a judicial . . . body
with the authority to issue a subpoena or other compulsory process may not compel a journalist to testify regarding or to produce or disclose in an official
proceeding” any information covered by the privilege. Tex. Civ. Prac. & Rem. Code Ann. § 22.023(a) (emphasis added). The statute nowhere suggests that
journalists forfeit the Shield Law’s protections when they are defendants subject to requests for production rather than third parties subject to subpoenas. See, e.g.,
Abraham v. Greer, 509 S.W.3d 609, 613 (Tex. App. 2016) (trial court noting that the privilege would apply to the defendant if he was deemed to be a journalist).
Plaintiff’s reading would run afoul of the statute’s very purpose, which includes “increas[ing] the free flow of information and preserv[ing] a free and active press.”
Tex. Civ. Prac. & Rem. Code § 22.022.

Far from limiting the Shield Law’s scope, the subsequent section you cite to, Tex. Civ. Prac. & Rem. Code § 22.024, sets the high bar that Plaintiff must clear to
overcome the relevant privilege. That section makes clear that a “compulsory process [can]not be[] used to obtain peripheral, nonessential, or speculative
information,” id. at § 22.024(5), and that the information being sought must be “essential to the maintenance of a claim or defense of the person seeking the
testimony, production, or disclosure,” id. at § 22.024(6). The documents Defendants logged as privileged under the Shield Law are fully protected under these
provisions.

Third, Defendants disagree with Plaintiff’s contention that their descriptions of documents are “vague,” “generalized,” or “insufficiently specific.” Defendants are not
obligated to reveal identifying details—including, for example, details identifying strategic vendors and partners—that may undermine or abrogate the very privilege
they assert. Defendants’ descriptions preserve the privilege’s protections while informing Plaintiff of the types of communications found within the identified
documents. Defendants are open to discussing the additional detail that you believe is appropriate to discern if any compromises can be reached.

Fourth, Defendants continue to disagree with Plaintiff about the availability of the First Amendment privilege in civil litigation discovery disputes. We again refer
Plaintiff to the ample arguments and caselaw we have provided over the last several months on the subject.

Lastly, Defendants will take a closer look at document MMFA_013760 to discern if the information Plaintiff seeks is accessible and, if so, will update the log
accordingly. In light of the Parties’ recent agreement to include date information on the privilege log, Defendants will also re-issue the log with that column included.

We look further to discussing further later today.

Best,
Abha



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From: Alex Dvorscak <alex@stonehilton.com>
Sent: Tuesday, July 16, 2024 12:14 PM
To: Daniela Lorenzo <dlorenzo@elias.law>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Abha Khanna <akhanna@elias.law>; Ahmed, Amer S.
<AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Hi Daniela,

We’re available to meet at 4:00 ET / 3:00 CT on Friday. We’ll send around a calendar invite.

Best,
-Alex Dvorscak
STONE|HILTON PLLC
alex@stonehilton.com|(518) 772-8657


From: Daniela Lorenzo <dlorenzo@elias.law>
Sent: Monday, July 15, 2024 3:39 PM
To: Alex Dvorscak <alex@stonehilton.com>; Jacob Shelly <jshelly@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Abha Khanna <akhanna@elias.law>; Ahmed, Amer
S. <AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Alex,

Our team is not available until Friday between 3-5 ET. If that works for your team, please send us a calendar invite in that time range. If not, please propose times
that work for you all next week.

Best,
Daniela


Daniela Lorenzo (she/her)
Litigation Associate
Elias Law Group LLP
202.987.5400
dlorenzo@elias.law

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From: Alex Dvorscak <alex@stonehilton.com>
Sent: Friday, July 12, 2024 9:47 PM
To: Jacob Shelly <jshelly@elias.law>; Daniela Lorenzo <dlorenzo@elias.law>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Abha Khanna <akhanna@elias.law>; Ahmed, Amer S.
<AAhmed@gibsondunn.com>
Cc: Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed
Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch <abranch@elias.law>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson
<mjohnson@elias.law>; Chris Hilton <chris@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright <tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>;
Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester <Bonnie@stonehilton.com>; Michael Abrams <michael@stonehilton.com>; Alithea
Sullivan <alithea@stonehilton.com>
Subject: RE: X/MMFA - Defendants' Fifth Production

Counsel,

Pursuant to Section III of the parties’ Revised Stipulation for the Exchange of Privilege Logs and the Court’s order on X’s motion to compel (ECF
No. 65), X objects to the assertions of privilege for the following documents (identified by Bates label):

MMFA_013561, 013562-013579, 013580-013597, 013598-013616, 013617-013635, 013636-013655, 013656-013676, 013677-013697, 013698,
013699, 013700-013714, 013715, 013716-013748, 013749-013755, 013756, 013757, 013758, 013759, 013760, 013761, 013762, 013763, 013764,
013765, 013766, 013767, 013768, 013769, 013770, 013771, 013772, 013773, 013774, 013775, 013776, 013777, 013778-013782, 013783, 013784,


                                                                                                                                                                                            Supp. App'x 065
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013785-013787, 013788.

As the Court instructed, we would like to meet and confer regarding our objections. Please let us know your availability to confer next week from
Tuesday (7/16) onward.

To aid the discussion, we have briefly set out our overarching objections to your privilege assertions. These descriptions are not meant to be
exhaustive and are made without intention of waiving or limiting any argument that X may advance in any future motion practice.

    1. Assertion of privilege based on “TX Press Shield Laws” (MMFA_013561, 013562-013579, 013580-013597, 013580-013597, 013598-013616,
        013636-013655, 013656-013676, 013677-013697, 013698, 013699, 013700-013714, 013715, 013716-013748, 013756, 013757, 013758, 013759,
        013760, 013761, 013762, 013763, 013764, 013765, 013766, 013767, 013768, 013769, 013770, 013771, 013772, 013773, 013774, 013775,
        013776, 013777, 013778-013782, 013783, 013784, 013785-013787, 013788):
            The assertion is untimely and therefore waived.
                  The parties have met and conferred over the privileges asserted by Defendants many times over the past several months, and prior
                  to this June 28 privilege log submission, the only specific privileges asserted were a federal-law reporter’s privilege (e.g., RFP No. 1),
                  purported associational rights, (e.g., RFP No. 3), and protection of donor information. (e.g., RFP No. 17).
            The privilege is substantively inapplicable.
                  On its own terms, Texas’s shield law applies only to “subpoenaing . . . information.” Tex. Civ. Prac. & Rem. Code § 22.024(4). As
                  parties to this litigation, Defendants are instead subject to the Federal Rules of Civil Procedure governing disclosure and
                  production of documents. See Fed. R. Civ. P. 26 & 34.
                  The assertion of privilege exceeds the scope of any statutory protections, which would extend at most to certain materials
                  “prepared while acting as a journalist” or the “source” thereof. Tex. Civ. Prac. & Rem. Code § 22.023(1)-(2).
            Defendants’ generalized claim of privilege for “internal strategic communications,” “MMFA’s journalistic process and procedures,”
            “process” and/or “strategy” is insufficiently specific.
                  Even if the Texas Civil Practice & Remedies Code applies here (and Defendants fail to specify which specific statute would cover
                  the documents at issue) these assertions are vague, generalized and do not provide sufficient detail for X or the Court to determine
                  how or why the underlying document would be privileged.

    2. Assertion of a First Amendment and/or “TX Press Shield Laws” privilege with respect to “strategic vendors,” “vendor[s],” “researching
        organizations,” or “strategic partners” (MMFA_013562-013579; 013580-013597, 013598-013616, 013617-013635, 013636-013655, 013656-
        013676, 013677-013697, 013716-013748, 013756, 013757, 013766, 013784):
             This assertion is vague, impermissible boilerplate. X is unable to determine what a “strategic vendor” is or why the identities of
             Defendants’ “strategic vendors” would be privileged. The same is true for Defendants’ assertions of privilege based on “researching
             organizations” and “strategic partners,” as well as any communications between Defendants and any “vendor.”
             The First Amendment does not protect the disclosure of vendor identities during discovery in civil litigation between private parties. The
             same is likely true of Defendants’ claim of privilege with respect to “researching organizations” and “strategic partners,” however
             Defendants’ privilege log does not contain sufficient detail for X to determine the First Amendment’s applicability, if any.
             The assertion of a “TX Press Shield Laws” privilege suffers deficiencies similar to those identified above.

    3. Assertion of privilege for any material purportedly unrelated to this case and, specifically, any assertion of First Amendment privilege with
        respect to allegedly unrelated communications with journalists (MMFA_013749-013755):
             Defendants’ descriptions provide no information allowing X or the Court to gauge whether the documents are “unrelated.” If
             Defendants claim a document is unrelated, Defendants must provide sufficient information to allow X to assess whether to dispute that
             characterization.
             The asserted First Amendment privilege is also too vague and lacking in detail to allow X or the Court to determine the applicability of
             the privilege.
             The First Amendment does not protect responsive communications in civil litigation between private parties.

    4. Assertion of First Amendment privilege with respect to an internal MMFA strategy meeting (MMFA_013760):
                This assertion does not provide sufficient information to allow X or the Court to determine the applicability of the privilege. For
                example, the privilege log does not list an author, date, or other pertinent information.
                The First Amendment does not shield discussions about journalistic strategy from discovery in civil litigation between private parties.
Best,

Alexander M. Dvorscak
Attorney
STONE|HILTON PLLC
1115 W. Slaughter Ln.
Austin, Texas 78748
alex@stonehilton.com|(518) 772-8657
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From: Jacob Shelly <jshelly@elias.law>
Sent: Friday, June 28, 2024 10:18 PM
To: Daniela Lorenzo <dlorenzo@elias.law>; Chris Hilton <chris@stonehilton.com>; Alex Dvorscak <alex@stonehilton.com>; Cody Coll <cody@stonehilton.com>; Tom Albright
<tom@stonehilton.com>; Ari Cuenin <ari@stonehilton.com>; Judd E. Stone, II <judd@stonehilton.com>; john.sullivan@the-sl-lawfirm.com; Bonnie Chester
<Bonnie@stonehilton.com>
Cc: LeGrand, Andrew <ALeGrand@gibsondunn.com>; Boutrous Jr., Theodore J. <TBoutrous@gibsondunn.com>; Abha Khanna <akhanna@elias.law>; Elena Rodriguez Armenta
<erodriguezarmenta@elias.law>; Champion, Anne <AChampion@gibsondunn.com>; Omeed Alerasool <oalerasool@elias.law>; Chris Dodge <cdodge@elias.law>; Aria Branch




                                                                                                                                                Supp. App'x 066
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                                                                                                  Page 67 of 121 PageID 2430

<abranch@elias.law>; Ahmed, Amer S. <AAhmed@gibsondunn.com>; Samuel Ward-Packard <swardpackard@elias.law>; Mindy Johnson <mjohnson@elias.law>
Subject: RE: X/MMFA - Defendants' Fifth Production

Counsel,

Attached please find a letter regarding Defendants’ fifth document production and the accompanying privilege log.

Jacob Shelly
Elias Law Group LLP
250 Massachusetts Ave NW Suite 400
Washington DC 20001
202-968-4496

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                                                                                                                                                                                            Supp. App'x 067
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                              Tab 6




                                                                 Supp. App'x 068
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                                 Page 69 of 121 PageID 2432

 From:            Chris Hilton
 To:              Abha Khanna; Alex Dvorscak; Michael Abrams
 Cc:              Aria Branch; Jacob Shelly; Elena Rodriguez Armenta; Ahmed, Amer S.; LeGrand, Andrew
 Subject:         Re: X Corp. v. MMFA: Second Discovery Deficiency Letter
 Date:            Monday, September 9, 2024 2:50:58 PM


 Abha,

 We will respond to your latest deficiency letter in due course. You received the first of two letters
 responding to your August 16th letter on Friday shortly after you sent this email. We will send the
 second letter promptly.

 Regarding the privilege log issue, for the reasons Alex explained in his email on Friday evening, I
 think both sides are in agreement.

 Regarding your proposal dated August 2nd, your proposal in that email essentially restated
 Defendants' position that Plaintiff must narrow its discovery requests. We continue to reject that
 invitation. We are reviewing your September 6th privilege log and production, and we will follow up
 once we have done so to see if there is agreement that can be reached.

 Thanks,
 Chris




 From: Abha Khanna <akhanna@elias.law>
 Sent: Friday, September 6, 2024 8:32 PM
 To: Alex Dvorscak <alex@stonehilton.com>; Chris Hilton <chris@stonehilton.com>; Michael Abrams
 <michael@stonehilton.com>
 Cc: Aria Branch <abranch@elias.law>; Jacob Shelly <jshelly@elias.law>; Elena Rodriguez Armenta
 <erodriguezarmenta@elias.law>; Ahmed, Amer S. <AAhmed@gibsondunn.com>; LeGrand, Andrew
 <ALeGrand@gibsondunn.com>
 Subject: X Corp. v. MMFA: Second Discovery Deficiency Letter

 Counsel,

 Please see the attached letter regarding deficiencies in Plaintiff’s discovery responses
 to Defendants’ third set of discovery requests. As captured in the letter, Defendants
 have yet to receive any meaningful response to their August 16 deficiency letter. On
 August 21, counsel for X stated in an email that they have “carefully reviewed” the
 letter and would respond “in due course.” Defendants have received no response
 since. Worse, X then replicated several of the same deficiencies in its most recent
 discovery responses.

 In addition, Defendants have been waiting on Plaintiff for weeks as to two key
 discovery decision points. First, as to the parties’ privilege log agreement, counsel for

                                                                                                        Supp. App'x 069
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 Plaintiff stated on July 8 that they would “respond back shortly” confirming their
 acceptance of the agreement. Counsel for Plaintiff never replied. Second, on August
 2, Defendants proposed a detailed, modified approach to searching for and producing
 the documents requested by Plaintiff. A week later, on August 9, counsel for Plaintiff
 responded that they were “in the process” of reviewing Defendants’ most recent
 production and amended privilege log and would “respond more substantively to
 [Defendants’] proposal next week.” Again, counsel for Plaintiff never replied.

 Plaintiff’s continued lack of cooperation as to these topics is unacceptable and
 obstructive to all efforts to make discovery efficient and productive. Plaintiff cannot
 insist that Defendants continue to expend resources to address Plaintiff’s alleged
 concerns with discovery when these costly efforts are met only with silence and when
 Plaintiff refuses to respond to—let alone address—Defendants’ concerns with X’s
 discovery responses.

 These outstanding action items demand an immediate response from Plaintiff
 in order for discovery to move forward productively. At a minimum, Defendants
 should respond to the two outstanding decision-points by Monday, September 9 so
 that the parties can continue producing documents and asserting any privileges
 pursuant to mutual agreements rather than one-sided efforts by Defendants.

 Best,
 Abha


 Abha Khanna
 Elias Law Group LLP
 1700 Seventh Ave Ste 2100
 Seattle WA 98101
 206-656-0177
 akhanna@elias.law

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                                                                                                           Supp. App'x 070
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                              Tab 7




                                                                 Supp. App'x 071
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                                 Page 72 of 121 PageID 2435

 From:            Chris Hilton
 To:              Abha Khanna; Michael Abrams; Aria Branch; Jacob Shelly; Elena Rodriguez Armenta; Ahmed, Amer S.; LeGrand,
                  Andrew; Daniela Lorenzo
 Cc:              Judd E. Stone, II; Ari Cuenin; Alex Dvorscak; Alithea Sullivan
 Subject:         Re: X/MMFA - motion to compel regarding Texas press shield law
 Date:            Tuesday, September 24, 2024 5:26:50 PM


 Thanks Abha. Abraham v. Greer does not analyze the question of whether the privilege applies to
 party discovery. Given that we've discussed this issue many times, we do not see any benefit of an
 additional conference. Your proposed solution continues to be that plaintiff needs to narrow its
 discovery requests unilaterally because the scope of our discovery is too broad. We disagree.

 We'll note your opposition in our motion.

 Thanks,
 Chris




 From: Abha Khanna <akhanna@elias.law>
 Sent: Tuesday, September 24, 2024 3:57 PM
 To: Michael Abrams <michael@stonehilton.com>; Aria Branch <abranch@elias.law>; Jacob Shelly
 <jshelly@elias.law>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Ahmed, Amer S.
 <AAhmed@gibsondunn.com>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Daniela Lorenzo
 <dlorenzo@elias.law>
 Cc: Judd E. Stone, II <judd@stonehilton.com>; Chris Hilton <chris@stonehilton.com>; Ari Cuenin
 <ari@stonehilton.com>; Alex Dvorscak <alex@stonehilton.com>; Alithea Sullivan
 <alithea@stonehilton.com>
 Subject: RE: X/MMFA - motion to compel regarding Texas press shield law

 Hi Michael,

 Thank you for your email. We do not agree that we have sufficiently conferred about this
 motion, in two respects.

 First, while you previously asserted in conferral that the Texas Shield Law does not apply to
 party discovery, this draft is the first occasion on which you have provided any authority or
 arguments to support that position. But there too, the draft fails to cite, let alone address, the
 most pertinent authority on point. The Texas Court of Appeals made clear that the Shield Law
 applies to party discovery nearly a decade ago, in Abraham v. Greer, 509 S.W.3d 609, 614–17
 (Tex. App. 2016). As you no doubt know, “[w]here an intermediate appellate state court rests
 its considered judgment upon the rule of law which it announces, that is a datum for
 ascertaining state law which is not to be disregarded by a federal court unless it is convinced
 by other persuasive data that the highest court of the state would decide otherwise.” West v.
 Am. Tel. & Tel. Co., 311 U.S. 223, 237 (1940) (emphasis added). Your motion necessarily invites
 the Court to “disregard[]” Abraham, yet your brief does not discuss that case.

                                                                                                         Supp. App'x 072
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 Second, at no point have you proposed requesting in camera review of documents covered by
 the Shield Law, nor have you ever requested our position on such a proposal. And the
 proposal suggests that you continue to misunderstand what we think the Shield Law applies
 to. We do not dispute that you can overcome the Shield Law with respect to discoverable
 materials that are “essential” to your claims. But your boundless approach to discovery is
 sweeping in thousands of documents that are not “essential” to this case under any plausible
 construction of that term. And a substantial subset of those documents is protected by the
 Shield Law. As our privilege log makes clear, insofar as the Shield Law is applicable, we are
 applying it to those non-“essential” documents, not to what you have previously referred to as
 “core” documents. Reviewing the privileged documents in camera would therefore be an
 enormous waste of the Court’s time and resources: we are talking about potentially thousands
 of documents with no plausible relevance to your claims.

 We have repeatedly invited further discussion about our proposed approach to resolving the
 Shield Law dispute. We have done so, in part, because you have persisted in asserting
 implausible arguments in conferral backed up with no authority, an approach that makes
 progressing toward a compromise extremely difficult. We have also done so because the
 broad sweep of Plaintiff’s discovery requests otherwise requires reviewing and logging
 documents that have no bearing on the issues in this case, a time- and resource-intensive
 process. Plaintiff’s continued insistence on an all-or-nothing approach to the Shield Law
 dispute is not conducive to a substantive, productive discussion.

 As your motion appears to be premised on (i) a fundamental misapprehension of current,
 binding Texas appellate precedent and (ii) a fundamental misunderstanding about what sorts
 of documents we are applying the Shield Law to, we cannot agree that we have exhausted the
 benefits of conferral here. If you proceed with filing this motion, we intend to make these
 points to the Court.

 Best,
 Abha

 Abha Khanna
 Elias Law Group LLP
 1700 Seventh Ave Ste 2100
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 206-656-0177
 akhanna@elias.law

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 From: Michael Abrams <michael@stonehilton.com>

                                                                                                           Supp. App'x 073
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                 Page 74 of 121 PageID 2437

 Sent: Tuesday, September 24, 2024 8:55 AM
 To: Abha Khanna <akhanna@elias.law>; Aria Branch <abranch@elias.law>; Jacob Shelly
 <jshelly@elias.law>; Elena Rodriguez Armenta <erodriguezarmenta@elias.law>; Ahmed, Amer S.
 <AAhmed@gibsondunn.com>; LeGrand, Andrew <ALeGrand@gibsondunn.com>; Daniela Lorenzo
 <dlorenzo@elias.law>
 Cc: Judd E. Stone, II <judd@stonehilton.com>; Chris Hilton <chris@stonehilton.com>; Ari Cuenin
 <ari@stonehilton.com>; Alex Dvorscak <alex@stonehilton.com>; Alithea Sullivan
 <alithea@stonehilton.com>
 Subject: X/MMFA - motion to compel regarding Texas press shield law

 Counsel,

 We intend to file a motion to compel asking the Court to overrule Defendants’ Texas
 press shield law objections at close of business today. A copy of the brief in support
 of our motion is attached.

 We believe that we have sufficiently conferenced this motion both by email and
 through our telephonic conferences, but if you believe there is anything further to
 discuss, please let us know ASAP so that we can make time to discuss before filing.
 Otherwise, we will note your opposition to the motion.

 Michael

 Michael R. Abrams
 Partner
 Stone|Hilton pllc
 600 Congress Ave., Ste. 2350
 Austin, Texas 78701
 michael@stonehilton.com|(281) 236-3029




                                                                                   Supp. App'x 074
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                              Tab 8




                                                                 Supp. App'x 075
                                                                                             Defendants Oct. 11 Privilege Log
Bates Number   Status     Docu    From                        To                        CC             BCC                      Date         Confidentiality    Privilege Type    Privilege Note
                          ment
                          Type
MMFA_072102    Withheld                                                                                                                      Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                                                                                             information        Privilege         and advocacy from 2022. The contents of the document
                                                                                                                                             subject to                           are unrelated to research for the November 16 and 17,
                                                                                                                                             protective order                     2023 articles or advertisement placement on X.

                                                                                                                                                                                  First Amendment Privilege: The document contains
                                                                                                                                                                                  sensitive information pertaining to the organization’s
                                                                                                                                                                                  mission and strategy protected by the First Amendment
                                                                                                                                                                                  privilege, the production of which would chill
                                                                                                                                                                                  Defendants’ exercise of their First Amendment speech.
MMFA_072103-   Redacted   Chat                                                                                                    5/5/2022                      First Amendment   Redacted identifying information of non-MMFA
MMFA_072104                                                                                                                                                     Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                                                  MMFA article.

                                                                                                                                                                                  First Amendment Privilege: Disclosing the journalists'
                                                                                                                                                                                  identity and would chill their and MMFA's First
                                                                                                                                                                                  Amendment speech and association rights.
MMFA_072105-   Redacted   Chat                                                                                                   5/10/2022                      First Amendment   Redacted identifying information of non-MMFA
MMFA_072108                                                                                                                                                     Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                                                                                                  MMFA article.

                                                                                                                                                                                  First Amendment Privilege: Disclosing the journalists'
                                                                                                                                                                                  identity and would chill their and MMFA's First
                                                                                                                                                                                  Amendment speech and association rights.
MMFA_072109    Redacted   Chat                                                                                                   5/10/2022                      First Amendment   Redacted identifying information of a non-MMFA
                                                                                                                                                                Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                                                  MMFA article.

                                                                                                                                                                                  First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                                                  identity would chill their and MMFA's First Amendment
                                                                                                                                                                                  speech and association rights.
MMFA_072110-   Redacted   Email   Ruby Seavey                 {Redacted: 1st Am Priv}                                            5/12/2022                      First Amendment   Redacted email address, name, and contact information
MMFA_072112                       <rseavey@mediamatters.org                                                                                                     Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                                                                                                     Case 4:23-cv-01175-O Document 112 Filed 10/15/24




                                  >                                                                                                                                               to.

                                                                                                                                                                                  First Amendment Privilege: Disclosing non-public
                                                                                                                                                                                  coalition information would chill members' First
                                                                                                                                                                                  Amendment speech and association rights.
MMFA_072113-   Redacted   Chat                                                                                                   5/13/2022                      First Amendment   Redacted identifying information of a non-MMFA
MMFA_072114                                                                                                                                                     Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                                                  MMFA article.

                                                                                                                                                                                  First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                                                  identity and would chill their and MMFA's First
                                                                                                                                                                                  Amendment speech and association rights.
MMFA_072115-   Redacted   Chat                                                                                                   5/16/2022                      First Amendment   Redacted identifying information of non-MMFA
MMFA_072120                                                                                                                                                     Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                                                                                                  MMFA article.

                                                                                                                                                                                  First Amendment Privilege: Disclosing the journalists'
                                                                                                                                                                                  identity would chill their and MMFA's First Amendment
                                                                                                                                                                                  speech and association rights.




                                                                                                             1
                                                                                                                                                                                                                                     Page 76 of 121 PageID 2439




                                                                                                                                                                                                                Supp. App'x 076
Bates Number   Status     Docu    From                      To                        CC   BCC       Date         Confidentiality   Privilege Type    Privilege Note
                          ment
                          Type
MMFA_072121    Redacted   Chat                                                                        5/16/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                                                                    Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                      MMFA article.

                                                                                                                                                      First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                      identity would chill their and MMFA's First Amendment
                                                                                                                                                      speech and association rights.
MMFA_072122-   Redacted   Email   {Redacted: 1st Am Priv}   {Redacted: 1st Am Priv}                   5/26/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072125                                                                                                                         Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                      to.

                                                                                                                                                      First Amendment Privilege: Disclosing non-public
                                                                                                                                                      coalition information would chill members' First
                                                                                                                                                      Amendment speech and association rights.
MMFA_072126    Withheld                                                                                                             Attorney-Client   Draft email to counsel seeking legal and business advice.
                                                                                                                                    Communication
                                                                                                                                                      Attorney-Client Privilege: Communications reveal
                                                                                                                                                      conversations regarding the decision to retain legal
                                                                                                                                                      advice.
MMFA_072127    Withheld                                                                                                             Attorney-Client   Draft email to counsel seeking legal and business advice.
                                                                                                                                    Communication
                                                                                                                                                      Attorney-Client Privilege: Communications reveal
                                                                                                                                                      conversations regarding the decision to retain legal
                                                                                                                                                      advice.
MMFA_072128    Withheld                                                                                                             Attorney-Client   Draft email to counsel seeking legal and business advice.
                                                                                                                                    Communication
                                                                                                                                                      Attorney-Client Privilege: Communications reveal
                                                                                                                                                      conversations regarding the decision to retain legal
                                                                                                                                                      advice.
MMFA_072129    Withheld                                                                                                             Attorney-Client   Draft email to counsel seeking legal and business advice.
                                                                                                                                    Communication
                                                                                                                                                      Attorney-Client Privilege: Communications reveal
                                                                                                                                                      conversations regarding the decision to retain legal
                                                                                                                                                      advice.
MMFA_072130    Withheld                                                                                                             Attorney-Client   Draft email to counsel seeking legal and business advice.
                                                                                                                                    Communication
                                                                                                                                                                                                             Case 4:23-cv-01175-O Document 112 Filed 10/15/24




                                                                                                                                                      Attorney-Client Privilege: Communications reveal
                                                                                                                                                      conversations regarding the decision to retain legal
                                                                                                                                                      advice.
MMFA_072131    Withheld                                                                                                             Attorney-Client   Draft email to counsel seeking legal and business advice.
                                                                                                                                    Communication
                                                                                                                                                      Attorney-Client Privilege: Communications reveal
                                                                                                                                                      conversations regarding the decision to retain legal
                                                                                                                                                      advice.
MMFA_072132    Withheld                                                                                                             Attorney-Client   Draft email to counsel seeking legal and business advice.
                                                                                                                                    Communication
                                                                                                                                                      Attorney-Client Privilege: Communications reveal
                                                                                                                                                      conversations regarding the decision to retain legal
                                                                                                                                                      advice.
MMFA_072133    Withheld                                                                                                             Attorney-Client   Draft email to counsel seeking legal and business advice.
                                                                                                                                    Communication
                                                                                                                                                      Attorney-Client Privilege: Communications reveal
                                                                                                                                                      conversations regarding the decision to retain legal
                                                                                                                                                      advice.




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Bates Number   Status     Docu    From                          To                        CC   BCC       Date         Confidentiality    Privilege Type    Privilege Note
                          ment
                          Type
MMFA_072134-   Redacted   Chat                                                                             7/8/2022                      First Amendment   Redacted name of non-MMFA journalist communicating
MMFA_072141                                                                                                                              Privilege         with MMFA about reporting collaboration.

                                                                                                                                                           First Amendment Privilege: The disclosure of the
                                                                                                                                                           individual's identity would chill MMFA and the
                                                                                                                                                           journalist's First Amendment speech and association
                                                                                                                                                           rights.
MMFA_072142    Redacted   Chat                                                                             7/8/2022                      First Amendment   Redacted name of non-MMFA journalist communicating
                                                                                                                                         Privilege         with MMFA about reporting collaboration.

                                                                                                                                                           First Amendment Privilege: The disclosure of the
                                                                                                                                                           individual's identity would chill MMFA and the
                                                                                                                                                           journalist's First Amendment speech and association
                                                                                                                                                           rights.
MMFA_072143-   Redacted   Email   {Redacted: 1st Am Priv}       {Redacted: 1st Am Priv}                   7/14/2022                      First Amendment   Redacted email address, name, and contact information
MMFA_072149                                                                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                           to as well as those for other organizations in the
                                                                                                                                                           coalition.

                                                                                                                                                           First Amendment Privilege: Disclosing non-public
                                                                                                                                                           coalition information would chill members' First
                                                                                                                                                           Amendment speech and association rights.
MMFA_072150    Withheld                                                                                               Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                                                                      information        Privilege         and advocacy from 2022. The contents of the document
                                                                                                                      subject to                           are unrelated to research for the November 16 and 17,
                                                                                                                      protective order                     2023 articles or advertisement placement on X.

                                                                                                                                                           First Amendment Privilege: The document contains
                                                                                                                                                           sensitive information pertaining to the organization’s
                                                                                                                                                           mission and strategy protected by the First Amendment
                                                                                                                                                           privilege, the production of which would chill
                                                                                                                                                           Defendants’ exercise of their First Amendment speech.
MMFA_072151-   Redacted   Email   Andrea Alford via groups.io   {Redacted: 1st Am Priv}                   10/5/2022                      First Amendment   Redacted email address, name, and contact information
MMFA_072152                       <aalford=mediamatters.org@                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                  groups.io>                                                                                                               to.
                                                                                                                                                                                                              Case 4:23-cv-01175-O Document 112 Filed 10/15/24




                                                                                                                                                           First Amendment Privilege: Disclosing non-public
                                                                                                                                                           coalition information would chill members' First
                                                                                                                                                           Amendment speech and association rights.
MMFA_072153-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/5/2022                      First Amendment   Redacted email address, name, and contact information
MMFA_072154                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                           to.

                                                                                                                                                           First Amendment Privilege: Disclosing non-public
                                                                                                                                                           coalition information would chill members' First
                                                                                                                                                           Amendment speech and association rights.
MMFA_072155-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/5/2022                      First Amendment   Redacted email address, name, and contact information
MMFA_072156                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                           to.

                                                                                                                                                           First Amendment Privilege: Disclosing non-public
                                                                                                                                                           coalition information would chill members' First
                                                                                                                                                           Amendment speech and association rights.




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Bates Number   Status     Docu    From                          To                        CC   BCC       Date         Confidentiality   Privilege Type    Privilege Note
                          ment
                          Type
MMFA_072157-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/5/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072158                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072159-   Redacted   Email   Andrea Alford via groups.io   {Redacted: 1st Am Priv}                   10/5/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072161                       <aalford=mediamatters.org@                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                  groups.io>                                                                                                              to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072178-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/5/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072179                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072196-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/5/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072198                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072215-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/5/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072217                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072234-   Redacted   Chat                                                                            10/6/2022                     First Amendment   Redacted name of non-MMFA journalist communicating
                                                                                                                                                                                                              Case 4:23-cv-01175-O Document 112 Filed 10/15/24




MMFA_072235                                                                                                                             Privilege         with MMFA about reporting collaboration.

                                                                                                                                                          First Amendment Privilege: The disclosure of the
                                                                                                                                                          individual's identity would chill MMFA and the
                                                                                                                                                          journalist’s First Amendment speech and association
                                                                                                                                                          rights.
MMFA_072236    Redacted   Chat                                                                            10/7/2022                     First Amendment   Redacted name of non-MMFA journalist communicating
                                                                                                                                        Privilege         with MMFA about reporting collaboration.

                                                                                                                                                          First Amendment Privilege: The disclosure of the
                                                                                                                                                          individual’s identity would chill MMFA and the
                                                                                                                                                          journalist’s First Amendment speech and association
                                                                                                                                                          rights.
MMFA_072237    Redacted   Chat                                                                           10/28/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                                                                        Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                          MMFA article.

                                                                                                                                                          First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                          identity and would chill their and MMFA's First
                                                                                                                                                          Amendment speech and association rights.


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Bates Number   Status     Docu    From                          To                        CC   BCC       Date         Confidentiality   Privilege Type    Privilege Note
                          ment
                          Type
MMFA_072238    Redacted   Chat                                                                           10/30/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                                                                        Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                          MMFA article.

                                                                                                                                                          First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                          identity would chill their and MMFA's First Amendment
                                                                                                                                                          speech and association rights.
MMFA_072239-   Redacted   Email   Andrea Alford via groups.io   {Redacted: 1st Am Priv}                  10/31/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072240                       <aalford=mediamatters.org@                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                  groups.io>                                                                                                              to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072241    Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                  10/31/2022                     First Amendment   Redacted email address, name, and contact information
                                  <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072242-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                  10/31/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072243                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072244-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                  10/31/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072245                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072246-   Redacted   Email   {Redacted: 1st Am Priv}       {Redacted: 1st Am Priv}                   11/1/2022                     First Amendment   Redacted email address, name, and contact information
                                                                                                                                                                                                             Case 4:23-cv-01175-O Document 112 Filed 10/15/24




MMFA_072251                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing confidential
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072252-   Redacted   Chat                                                                            11/2/2022                     First Amendment   Redacted identifying information of non-MMFA
MMFA_072253                                                                                                                             Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                                                                          MMFA article.

                                                                                                                                                          First Amendment Privilege: Disclosing the journalists'
                                                                                                                                                          identity and would chill their and MMFA's First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072254-   Redacted   Email   {Redacted: 1st Am Priv}       {Redacted: 1st Am Priv}                   11/3/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072264                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to as well as those for other organizations in the
                                                                                                                                                          coalition.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.

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Bates Number   Status     Docu    From                          To                        CC   BCC       Date         Confidentiality   Privilege Type    Privilege Note
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                          Type
MMFA_072265-   Redacted   Email   {Redacted: 1st Am Priv}       {Redacted: 1st Am Priv}                   11/3/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072275                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to as well as those for other organizations in the
                                                                                                                                                          coalition.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072276-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   11/3/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072279                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072280-   Redacted   Email   Andrea Alford via groups.io   {Redacted: 1st Am Priv}                   11/3/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072283                       <aalford=mediamatters.org@                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                  groups.io>                                                                                                              to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072284-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   11/3/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072286                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072287-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   11/3/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072290                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
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MMFA_072291-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   11/3/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072294                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072295    Redacted   Chat                                                                            11/9/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                                                                        Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                          MMFA article.

                                                                                                                                                          First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                          identity would chill their and MMFA's First Amendment
                                                                                                                                                          speech and association rights.
MMFA_072296    Redacted   Chat                                                                            11/9/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                                                                        Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                          MMFA article.

                                                                                                                                                          First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                          identity and would chill their and MMFA's First
                                                                                                                                                          Amendment speech and association rights.

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Bates Number   Status     Docu    From                         To                        CC   BCC       Date         Confidentiality   Privilege Type    Privilege Note
                          ment
                          Type
MMFA_072297-   Redacted   Chat                                                                          11/21/2022                     First Amendment   Redacted identifying information of non-MMFA
MMFA_072298                                                                                                                            Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                                                                         MMFA article.

                                                                                                                                                         First Amendment Privilege: Disclosing the journalists'
                                                                                                                                                         identity would chill their and MMFA's First Amendment
                                                                                                                                                         speech and association rights.
MMFA_072299-   Redacted   Chat                                                                          11/22/2022                     First Amendment   Redacted identifying information of non-MMFA
MMFA_072300                                                                                                                            Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                                                                         MMFA article.

                                                                                                                                                         First Amendment Privilege: Disclosing the journalists'
                                                                                                                                                         identity and would chill their and MMFA's First
                                                                                                                                                         Amendment speech and association rights.
MMFA_072301-   Redacted   Chat                                                                          11/22/2022                     First Amendment   Redacted identifying information of a non-MMFA
MMFA_072302                                                                                                                            Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                         MMFA article.

                                                                                                                                                         First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                         identity would chill their and MMFA's First Amendment
                                                                                                                                                         speech and association rights.
MMFA_072303-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                  11/22/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072306                       <aalford@mediamatters.org>                                                                           Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                         to.

                                                                                                                                                         First Amendment Privilege: Disclosing non-public
                                                                                                                                                         coalition information would chill members' First
                                                                                                                                                         Amendment speech and association rights.
MMFA_072307-   Redacted   Chat                                                                          11/23/2022                     First Amendment   Redacted identifying information of a non-MMFA
MMFA_072308                                                                                                                            Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                         MMFA article.

                                                                                                                                                         First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                         identity and would chill their and MMFA's First
                                                                                                                                                         Amendment speech and association rights.
MMFA_072309    Redacted   Chat                                                                          11/24/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                                                                                                                                             Case 4:23-cv-01175-O Document 112 Filed 10/15/24




                                                                                                                                       Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                         MMFA article.

                                                                                                                                                         First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                         identity and would chill their and MMFA's First
                                                                                                                                                         Amendment speech and association rights.
MMFA_072310    Redacted   Chat                                                                          11/26/2022                     First Amendment   Redacted identifying information of non-MMFA
                                                                                                                                       Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                                                                         MMFA article.

                                                                                                                                                         First Amendment Privilege: Disclosing the journalists'
                                                                                                                                                         identity would chill their and MMFA's First Amendment
                                                                                                                                                         speech and association rights.
MMFA_072311-   Redacted   Chat                                                                          11/26/2022                     First Amendment   Redacted identifying information of a non-MMFA
MMFA_072312                                                                                                                            Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                         MMFA article.

                                                                                                                                                         First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                         identity and would chill their and MMFA's First
                                                                                                                                                         Amendment speech and association rights.


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Bates Number   Status     Docu   From   To   CC   BCC       Date         Confidentiality   Privilege Type    Privilege Note
                          ment
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MMFA_072313    Redacted   Chat                              11/28/2022                     First Amendment   Redacted identifying information of non-MMFA
                                                                                           Privilege         journalists seeking to collaborate with MMFA on non-
                                                                                                             MMFA articles.

                                                                                                             First Amendment Privilege: Disclosing the journalists'
                                                                                                             identity would chill their and MMFA's First Amendment
                                                                                                             speech and association rights.
MMFA_072314-   Redacted   Chat                              11/28/2022                     First Amendment   Redacted identifying information of non-MMFA
MMFA_072315                                                                                Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalists'
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072316-   Redacted   Chat                              11/29/2022                     First Amendment   Redacted identifying information of a non-MMFA
MMFA_072317                                                                                Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalist's
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072318    Redacted   Chat                              11/30/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                           Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalist's
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072319-   Redacted   Chat                               12/1/2022                     First Amendment   Redacted identifying information of non-MMFA
MMFA_072320                                                                                Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalists'
                                                                                                             identity would chill their and MMFA's First Amendment
                                                                                                             speech and association rights.
MMFA_072321    Redacted   Chat                               12/1/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                                                                                                Case 4:23-cv-01175-O Document 112 Filed 10/15/24




                                                                                           Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalist's
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072322-   Redacted   Chat                               12/1/2022                     First Amendment   Redacted identifying information of a non-MMFA
MMFA_072323                                                                                Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalist's
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072324    Redacted   Chat                               12/5/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                           Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalists'
                                                                                                             identity would chill their and MMFA's First Amendment
                                                                                                             speech and association rights.


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Bates Number   Status     Docu   From   To   CC   BCC       Date         Confidentiality   Privilege Type    Privilege Note
                          ment
                          Type
MMFA_072325    Redacted   Chat                               12/5/2022                     First Amendment   Redacted identifying information of non-MMFA
                                                                                           Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalists'
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072326-   Redacted   Chat                               12/5/2022                     First Amendment   Redacted identifying information of a non-MMFA
MMFA_072327                                                                                Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalist's
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072328    Redacted   Chat                               12/6/2022                     First Amendment   Redacted identifying information of non-MMFA
                                                                                           Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalists'
                                                                                                             identity would chill their and MMFA's First Amendment
                                                                                                             speech and association rights.
MMFA_072329-   Redacted   Chat                               12/6/2022                     First Amendment   Redacted identifying information of a non-MMFA
MMFA_072330                                                                                Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalist's
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072331    Redacted   Chat                               12/6/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                           Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalist's
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072332    Redacted   Chat                               12/7/2022                     First Amendment   Redacted identifying information of non-MMFA
                                                                                                                                                                 Case 4:23-cv-01175-O Document 112 Filed 10/15/24




                                                                                           Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalists'
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072333    Redacted   Chat                               12/9/2022                     First Amendment   Redacted identifying information of a non-MMFA
                                                                                           Privilege         journalist seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalist's
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.
MMFA_072334-   Redacted   Chat                               12/9/2022                     First Amendment   Redacted identifying information of a non-MMFA
MMFA_072335                                                                                Privilege         journalists seeking to collaborate with MMFA on a non-
                                                                                                             MMFA article.

                                                                                                             First Amendment Privilege: Disclosing the journalists'
                                                                                                             identity and would chill their and MMFA's First
                                                                                                             Amendment speech and association rights.


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Bates Number   Status     Docu    From                         To                        CC   BCC        Date         Confidentiality    Privilege Type     Privilege Note
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MMFA_072336    Withheld                                                                                               Confidential       First Amendment    Draft memorandum detailing mission-critical MMFA
                                                                                                                      information        Privilege; Texas   research, advocacy projects, and strategy, and detailing
                                                                                                                      subject to         Press Shield Law   potential avenues of future MMFA advocacy.
                                                                                                                      protective order                      Memorandum also includes discussion of past and
                                                                                                                                                            potential future collaborations with non-MMFA
                                                                                                                                                            journalists and organization to further MMFA's mission.
                                                                                                                                                            The contents of the document are unrelated to research
                                                                                                                                                            for the November 16 and 17, 2023 articles or
                                                                                                                                                            advertisement placement on Twitter.

                                                                                                                                                            Texas Press Shield Law: This document reflects
                                                                                                                                                            information obtained or prepared while acting as a
                                                                                                                                                            journalist. Tex. Civ. Prac. and Rem. Code § 22.023
                                                                                                                                                            (a)(1).

                                                                                                                                                            First Amendment Privilege: The document contains
                                                                                                                                                            sensitive information pertaining to the organization’s
                                                                                                                                                            mission, strategy, and associations protected by the First
                                                                                                                                                            Amendment privilege, the production of which would
                                                                                                                                                            chill Defendants’ exercise of their First Amendment
                                                                                                                                                            speech.
MMFA_072337    Redacted   Chat                                                                           12/13/2022                      First Amendment    Redacted identifying information of non-MMFA
                                                                                                                                         Privilege          journalists seeking to collaborate with MMFA on a non-
                                                                                                                                                            MMFA article.

                                                                                                                                                            First Amendment Privilege: Disclosing the journalists'
                                                                                                                                                            identity would chill their and MMFA's First Amendment
                                                                                                                                                            speech and association rights.
MMFA_072338    Redacted   Chat                                                                           12/13/2022                      First Amendment    Redacted identifying information of a non-MMFA
                                                                                                                                         Privilege          journalist seeking to collaborate with MMFA on a non-
                                                                                                                                                            MMFA article.

                                                                                                                                                            First Amendment Privilege: Disclosing the journalist's
                                                                                                                                                            identity and would chill their and MMFA's First
                                                                                                                                                            Amendment speech and association rights.
MMFA_072339-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                   12/16/2022                      First Amendment    Redacted email address, name, and contact information
                                                                                                                                                                                                                  Case 4:23-cv-01175-O Document 112 Filed 10/15/24




MMFA_072342                       <aalford@mediamatters.org>                                                                             Privilege          of coalition of issue-based organizations MMFA belongs
                                                                                                                                                            to.

                                                                                                                                                            First Amendment Privilege: Disclosing non-public
                                                                                                                                                            coalition information would chill members' First
                                                                                                                                                            Amendment speech and association rights.
MMFA_072343    Withheld                                                                                               Confidential       First Amendment    Draft memorandum detailing mission-critical MMFA
                                                                                                                      information        Privilege; Texas   research, advocacy projects, and strategy, and detailing
                                                                                                                      subject to         Press Shield Law   potential avenues of future MMFA advocacy.
                                                                                                                      protective order                      Memorandum also includes discussion of past and
                                                                                                                                                            potential future collaborations with non-MMFA
                                                                                                                                                            journalists and organization to further MMFA's mission.
                                                                                                                                                            The contents of the document are unrelated to research
                                                                                                                                                            for the November 16 and 17, 2023 articles or
                                                                                                                                                            advertisement placement on Twitter.

                                                                                                                                                            Texas Press Shield Law: This document reflects
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Bates Number   Status     Docu    From                        To                          CC                     BCC        Date         Confidentiality    Privilege Type     Privilege Note
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                                                                                                                                                                               Amendment privilege, the production of which would
                                                                                                                                                                               chill Defendants’ exercise of their First Amendment
                                                                                                                                                                               speech.




MMFA_072344    Withheld                                                                                                                  Confidential       First Amendment    Draft memorandum detailing mission-critical MMFA
                                                                                                                                         information        Privilege; Texas   research, advocacy projects, and strategy, and detailing
                                                                                                                                         subject to         Press Shield Law   potential avenues of future MMFA advocacy.
                                                                                                                                         protective order                      Memorandum also includes discussion of past and
                                                                                                                                                                               potential future collaborations with non-MMFA
                                                                                                                                                                               journalists and organization to further MMFA's mission.
                                                                                                                                                                               The contents of the document are unrelated to research
                                                                                                                                                                               for the November 16 and 17, 2023 articles or
                                                                                                                                                                               advertisement placement on Twitter.

                                                                                                                                                                               Texas Press Shield Law: This document reflects
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                                                                                                                                                                               speech.
MMFA_072345    Redacted   Email   {Redacted: 1st Am Priv}     Laura Keiter                                                  12/19/2022                      First Amendment    Redacted portions reveal identity of a non-MMFA
                                                                                                                                                                                                                                      Case 4:23-cv-01175-O Document 112 Filed 10/15/24




                                                              <LKeiter@MEDIAMATTER                                                                          Privilege          reporter who collaborates with MMFA.
                                                              S.ORG>;Press
                                                              <press@mediamatters.org>                                                                                         First Amendment Privilege: The disclosure of the
                                                                                                                                                                               individual's identity would chill journalist's First
                                                                                                                                                                               Amendment speech and association rights.
MMFA_072346    Redacted   Email   {Redacted: 1st Am Priv}     Laura Keiter                                                  12/19/2022                      First Amendment    Redacted portions reveal identity of a non-MMFA
                                                              <LKeiter@MEDIAMATTER                                                                          Privilege          reporter who collaborates with MMFA.
                                                              S.ORG>;Press
                                                              <press@mediamatters.org>                                                                                         First Amendment Privilege: The disclosure of the
                                                                                                                                                                               individual's identity would chill journalist's First
                                                                                                                                                                               Amendment speech and association rights.
MMFA_072347    Redacted   Email   Lauren Cross                {Redacted: 1st Am Priv}     Press                             12/19/2022                      First Amendment    Redacted portions reveal identity of a non-MMFA
                                  <lcross@mediamatters.org>                               <press@mediamatters.                                              Privilege          reporter who collaborates with MMFA.
                                                                                          org>
                                                                                                                                                                               First Amendment Privilege: The disclosure of the
                                                                                                                                                                               individual's identity would chill journalist's First
                                                                                                                                                                               Amendment speech and association rights.
MMFA_072348    Redacted   Email   {Redacted: 1st Am Priv}     Lauren Cross                Press                             12/19/2022                      First Amendment    Redacted portions reveal identity of a non-MMFA
                                                              <lcross@mediamatters.org>   <press@mediamatters.                                              Privilege          reporter who collaborates with MMFA.
                                                                                          org>
                                                                                                                                                                               First Amendment Privilege: The disclosure of the


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                                                                                                                                                                              individual's identity would chill journalist's First
                                                                                                                                                                              Amendment speech and association rights.



MMFA_072349-   Redacted   Email   {Redacted: 1st Am Priv}     Lauren Cross                 Press                             12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072350                                                   <lcross@mediamatters.org>    <press@mediamatters.                                             Privilege         reporter who collaborates with MMFA.
                                                                                           org>
                                                                                                                                                                              First Amendment Privilege: The disclosure of the
                                                                                                                                                                              individual's identity would chill journalist's First
                                                                                                                                                                              Amendment speech and association rights.
MMFA_072351-   Redacted   Email   Lauren Cross                Angelo Carusone                                                12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072352                       <lcross@mediamatters.org>   <acarusone@mediamatters.or                                                                    Privilege         reporter who collaborates with MMFA.
                                                              g>;Sharon Kann
                                                              <skann@mediamatters.org>                                                                                        First Amendment Privilege: The disclosure of the
                                                                                                                                                                              individual's identity would chill journalist's First
                                                                                                                                                                              Amendment speech and association rights.
MMFA_072353-   Redacted   Email   Lauren Cross                Angelo Carusone                                                12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072355                       <lcross@mediamatters.org>   <acarusone@mediamatters.or                                                                    Privilege         reporter who collaborates with MMFA.
                                                              g>;Sharon Kann
                                                              <skann@mediamatters.org>                                                                                        First Amendment Privilege: The disclosure of the
                                                                                                                                                                              individual's identity would chill journalist's First
                                                                                                                                                                              Amendment speech and association rights.
MMFA_072356-   Redacted   Email   Sharon Kann                 Lauren Cross                 Angelo Carusone                   12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072358                       <skann@mediamatters.org>    <lcross@mediamatters.org>    <acarusone@mediama                                               Privilege         reporter who collaborates with MMFA.
                                                                                           tters.org>
                                                                                                                                                                              First Amendment Privilege: The disclosure of the
                                                                                                                                                                              individual's identity would chill journalist's First
                                                                                                                                                                              Amendment speech and association rights.
MMFA_072359-   Redacted   Email   Lauren Cross                {Redacted: 1st Am Priv}      Press                             12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072360                       <lcross@mediamatters.org>                                <press@mediamatters.                                             Privilege         reporter who collaborates with MMFA.
                                                                                           org>
                                                                                                                                                                              First Amendment Privilege: The disclosure of the
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                                                                                                                                                                              Amendment speech and association rights.
MMFA_072361-   Redacted   Email   {Redacted: 1st Am Priv}     Lauren Cross                 Press                             12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
                                                                                                                                                                                                                                     Case 4:23-cv-01175-O Document 112 Filed 10/15/24




MMFA_072362                                                   <lcross@mediamatters.org>    <press@mediamatters.                                             Privilege         reporter who collaborates with MMFA.
                                                                                           org>
                                                                                                                                                                              First Amendment Privilege: The disclosure of the
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                                                                                                                                                                              Amendment speech and association rights.
MMFA_072363-   Redacted   Email   Angelo S. Carusone          Sharon Kann                  Lauren Cross                      12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072365                       <acarusone@mediamatters.o   <skann@mediamatters.org>     <lcross@mediamatters                                             Privilege         reporter who collaborates with MMFA.
                                  rg>                                                      .org>
                                                                                                                                                                              First Amendment Privilege: The disclosure of the
                                                                                                                                                                              individual's identity would chill journalist's First
                                                                                                                                                                              Amendment speech and association rights.
MMFA_072366-   Redacted   Email   Lauren Cross                Angelo S. Carusone           Sharon Kann                       12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072368                       <lcross@mediamatters.org>   <acarusone@mediamatters.or   <skann@mediamatters                                              Privilege         reporter who collaborates with MMFA.
                                                              g>                           .org>
                                                                                                                                                                              First Amendment Privilege: The disclosure of the
                                                                                                                                                                              individual's identity would chill journalist's First
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MMFA_072369-   Redacted   Email   Lauren Cross                {Redacted: 1st Am                                              12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072370                       <lcross@mediamatters.org>   Priv};press                                                                                   Privilege         reporter who collaborates with MMFA.
                                                              <press@mediamatters.org>
                                                                                                                                                                              First Amendment Privilege: The disclosure of the


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                                                                                                                                                              individual's identity would chill journalist's First
                                                                                                                                                              Amendment speech and association rights.



MMFA_072371-   Redacted   Email   {Redacted: 1st Am Priv}      Lauren Cross                                  12/19/2022                     First Amendment   Redacted portions reveal identity of a non-MMFA
MMFA_072373                                                    <lcross@mediamatters.org>;p                                                  Privilege         reporter who collaborates with MMFA.
                                                               ress
                                                               <press@mediamatters.org>                                                                       First Amendment Privilege: The disclosure of the
                                                                                                                                                              individual's identity would chill journalist's First
                                                                                                                                                              Amendment speech and association rights.
MMFA_072374-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                       12/21/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072376                       <aalford@mediamatters.org>                                                                                Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                              to.

                                                                                                                                                              First Amendment Privilege: Disclosing non-public
                                                                                                                                                              coalition information would chill members' First
                                                                                                                                                              Amendment speech and association rights.
MMFA_072377-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                       12/21/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072379                       <aalford@mediamatters.org>                                                                                Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                              to.

                                                                                                                                                              First Amendment Privilege: Disclosing non-public
                                                                                                                                                              coalition information would chill members' First
                                                                                                                                                              Amendment speech and association rights.
MMFA_072380-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                       12/21/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072382                       <aalford@mediamatters.org>                                                                                Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                              to.

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                                                                                                                                                              coalition information would chill members' First
                                                                                                                                                              Amendment speech and association rights.
MMFA_072383-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                       12/21/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072384                       <aalford@mediamatters.org>                                                                                Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                              to.
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MMFA_072385-   Redacted   Email   Andrea Alford                undisclosed-recipients:        {Redacted: 1st Am                    12/21/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072386                       <aalford@mediamatters.org>                                  Priv};{Redacted: 1st Am                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                              Priv};{Redacted: 1st Am Priv};Ari                                                     to.
                                                                                              Drennen
                                                                                              <adrennen@mediamatters.org>;{R                                                        First Amendment Privilege: Disclosing identity
                                                                                              edacted: 1st Am Priv};{Redacted:                                                      information would chill individuals' First Amendment
                                                                                              1st Am Priv};{Redacted: 1st Am                                                        speech and association rights.
                                                                                              Priv};{Redacted: 1st Am
                                                                                              Priv};Alex Kaplan
                                                                                              <akaplan@mediamatters.org>;{Re
                                                                                              dacted: 1st Am Priv};{Redacted:
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                                                                                              <apaterson@mediamatters.org>;{
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                                                                                              <bdimiero@mediamatters.org>;{R
                                                                                              edacted: 1st Am Priv};{Redacted:
                                                                                              1st Am Priv};{Redacted: 1st Am
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                                                                                              <bsuen@mediamatters.org>;{Red
                                                                                              acted: 1st Am Priv};{Redacted: 1st
                                                                                              Am Priv};{Redacted: 1st Am
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                                                                                              <cevans@mediamatters.org>;{Red
                                                                                              acted: 1st Am Priv};{Redacted: 1st
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                                                                                              Priv};Faith Branch
                                                                                              <fbranch@mediamatters.org>;{Re
                                                                                              dacted: 1st Am Priv};Gabriel
                                                                                              Capuano
                                                                                              <gcapuano@mediamatters.org>;Hi
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                                                                                              <hhailu@mediamatters.org>;{Red
                                                                                              acted: 1st Am Priv};{Redacted: 1st
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                                                Priv};Julie Millican
                                                <jmillican@mediamatters.org>;{R
                                                edacted: 1st Am Priv};{Redacted:
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                                                Priv};Kayla Gogarty
                                                <kgogarty@mediamatters.org>;{R
                                                edacted: 1st Am Priv};Lauren
                                                Cross
                                                <lcross@mediamatters.org>;{Red
                                                acted: 1st Am Priv};{Redacted: 1st
                                                Am Priv};{Redacted: 1st Am
                                                Priv};Laura Keiter
                                                <lkeiter@mediamatters.org>;{Red
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                                                Priv};Madeline Peltz
                                                <mpeltz@mediamatters.org>;{Red
                                                acted: 1st Am Priv};{Redacted: 1st
                                                Am Priv};{Redacted: 1st Am
                                                Priv};{Redacted: 1st Am
                                                Priv};{Redacted: 1st Am
                                                Priv};{Redacted: 1st Am
                                                Priv};Natalie Mathes
                                                <nmathes@mediamatters.org>;{R
                                                edacted: 1st Am Priv};{Redacted:
                                                1st Am Priv};Olivia Little
                                                <olittle@mediamatters.org>;{Red
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Bates Number   Status     Docu    From                         To                           CC   BCC                                  Date         Confidentiality   Privilege Type    Privilege Note
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                                                                                                 acted: 1st Am Priv};Pamela Vogel
                                                                                                 <pvogel@mediamatters.org>;{Red
                                                                                                 acted: 1st Am Priv};{Redacted: 1st
                                                                                                 Am Priv};{Redacted: 1st Am
                                                                                                 Priv};{Redacted: 1st Am
                                                                                                 Priv};{Redacted: 1st Am
                                                                                                 Priv};Ruby Seavey
                                                                                                 <rseavey@mediamatters.org>;Reb
                                                                                                 ecca Sturtevant
                                                                                                 <rsturtevant@mediamatters.org>;
                                                                                                 Rachel Tardiff
                                                                                                 <rtardiff@mediamatters.org>;{Re
                                                                                                 dacted: 1st Am Priv};{Redacted:
                                                                                                 1st Am Priv};{Redacted: 1st Am
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                                                                                                 <skann@mediamatters.org>;{Red
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MMFA_072387-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                                                12/21/2022                     First Amendment   Redacted email address, name, and contact information
MMFA_072388                       <aalford@mediamatters.org>                                                                                                         Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                                                       to.

                                                                                                                                                                                       First Amendment Privilege: Disclosing confidential
                                                                                                                                                                                       coalition information would chill members' First
                                                                                                                                                                                       Amendment speech and association rights.
MMFA_072389-   Redacted   Email   {Redacted: 1st Am Priv}      <aalford@mediamatters.org>                                             12/21/2022                     First Amendment   Redacted email address of non-MMFA employee who is
MMFA_072390                                                                                                                                                          Privilege         part of an organization that collaborates with MMFA on
                                                                                                                                                                                       research and advocacy projects.

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                                                                                                                                                                                       coalition information would chill individual's First
                                                                                                                                                                                       Amendment speech and association rights.
MMFA_072391-   Redacted   Email   Andrea Alford                undisclosed-recipients:           {Redacted: 1st Am Priv}              12/21/2022                     First Amendment   Redacted email address of non-MMFA employee who is
MMFA_072392                       <aalford@mediamatters.org>                                                                                                         Privilege         part of an organization that collaborates with MMFA on
                                                                                                                                                                                       research and advocacy projects.

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MMFA_072393    Redacted   Text                                                                           12/21/2022                      First Amendment   Redacted email address of non-MMFA employee who is
                                                                                                                                         Privilege         part of an organization that collaborates with MMFA on
                                                                                                                                                           research and advocacy projects.

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                                                                                                                                                           coalition information would chill individual's First
                                                                                                                                                           Amendment speech and association rights.
MMFA_072394-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                   12/21/2022                      First Amendment   Redacted email address, name, and contact information
MMFA_072395                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                           to.

                                                                                                                                                           First Amendment Privilege: Disclosing non-public
                                                                                                                                                           coalition information would chill members' First
                                                                                                                                                           Amendment speech and association rights.
MMFA_072396-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                    1/12/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072400                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                           to.

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                                                                                                                                                           coalition information would chill members' First
                                                                                                                                                           Amendment speech and association rights.
MMFA_072401    Withheld                                                                                               Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                                                                      information        Privilege         and advocacy from 2023-2024. The contents of the
                                                                                                                      subject to                           document are unrelated to research for the November 16
                                                                                                                      protective order                     and 17, 2023 articles or advertisement placement on X.

                                                                                                                                                           First Amendment Privilege: The document contains
                                                                                                                                                           sensitive information pertaining to the organization’s
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                                                                                                                                                           privilege, the production of which would chill
                                                                                                                                                           Defendants’ exercise of their First Amendment speech.
MMFA_072402    Withheld                                                                                               Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                                                                      information        Privilege         and advocacy from 2023-2024. The contents of the
                                                                                                                      subject to                           document are unrelated to research for the November 16
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                                                                                                                                                           Defendants’ exercise of their First Amendment speech.
MMFA_072403    Withheld                                                                                               Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                                                                      information        Privilege         and advocacy from 2023-2024. The contents of the
                                                                                                                      subject to                           document are unrelated to research for the November 16
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MMFA_072404    Withheld                                             Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                    information        Privilege         and advocacy from 2023-2024. The contents of the
                                                                    subject to                           document are unrelated to research for the November 16
                                                                    protective order                     and 17, 2023 articles or advertisement placement on X.

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                                                                                                         Defendants’ exercise of their First Amendment speech.
MMFA_072405    Withheld                                             Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                    information        Privilege         and advocacy from 2023-2024. The contents of the
                                                                    subject to                           document are unrelated to research for the November 16
                                                                    protective order                     and 17, 2023 articles or advertisement placement on X.

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                                                                                                         Defendants’ exercise of their First Amendment speech.
MMFA_072406    Withheld                                             Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                    information        Privilege         and advocacy from 2023-2024. The contents of the
                                                                    subject to                           document are unrelated to research for the November 16
                                                                    protective order                     and 17, 2023 articles or advertisement placement on X.

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                                                                                                         Defendants’ exercise of their First Amendment speech.
MMFA_072407    Withheld                                             Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                    information        Privilege         and advocacy from 2023-2024. The contents of the
                                                                    subject to                           document are unrelated to research for the November 16
                                                                    protective order                     and 17, 2023 articles or advertisement placement on X.

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                                                                                                         sensitive information pertaining to the organization’s
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                                                                                                         Defendants’ exercise of their First Amendment speech.
MMFA_072408    Withheld                                             Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                    information        Privilege         and advocacy from 2023-2024. The contents of the
                                                                    subject to                           document are unrelated to research for the November 16
                                                                    protective order                     and 17, 2023 articles or advertisement placement on X.

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MMFA_072409    Withheld                                             Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                    information        Privilege         and advocacy from 2023-2024. The contents of the
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MMFA_072410    Withheld                                                                                              Confidential       First Amendment   Annual report outlining MMFA's strategy for research
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MMFA_072411    Withheld                                                                                              Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                                                                     information        Privilege         and advocacy from 2023-2024. The contents of the
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MMFA_072412    Withheld                                                                                              Confidential       First Amendment   Annual report outlining MMFA's strategy for research
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MMFA_072413    Withheld                                                                                              Confidential       First Amendment   Annual report outlining MMFA's strategy for research
                                                                                                                     information        Privilege         and advocacy from 2023-2024. The contents of the
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MMFA_072414-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    1/27/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072418                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072430-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    1/30/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072432                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072451    Withheld                                                                                               Confidential       First Amendment   Annual report outlining MMFA's strategy for research
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                                                                                                                      subject to                           document are unrelated to research for the November 16
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MMFA_072452-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                    3/30/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072456                       <lginsberg@mediamatters.or                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072457-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                    3/30/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072461                       <lginsberg@mediamatters.or                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072462-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                    3/30/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072466                       <lginsberg@mediamatters.or                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072467-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    4/18/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072469                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072470-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    4/18/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072472                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072473-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    4/18/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072475                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072476-   Redacted   Email   Priya Singh                   {Redacted: 1st Am Priv}                    4/20/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072481                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072482-   Redacted   Email   Priya Singh                   {Redacted: 1st Am Priv}                    4/20/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072487                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072488-   Redacted   Email   Andrea Alford via groups.io   {Redacted: 1st Am Priv}                    4/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072494                       <aalford=mediamatters.org@                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                  groups.io>                                                                                                               to.

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MMFA_072495-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                    4/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072501                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072502-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                    4/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072508                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072509-   Redacted   Email   Andrea Alford via groups.io   {Redacted: 1st Am Priv}                     5/9/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072510                       <aalford=mediamatters.org@                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                  groups.io>                                                                                                               to.

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MMFA_072511-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                     5/9/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072512                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072513-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                     5/9/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072514                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072515-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    5/11/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072522                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072523-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    5/11/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072530                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072531-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    5/11/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072538                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072539-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    5/18/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072545                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072546-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    5/18/2023                     First Amendment   Redacted email address, name, and contact information
                                                                                                                                                                                                             Case 4:23-cv-01175-O Document 112 Filed 10/15/24




MMFA_072552                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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                                                                                                                                                          Amendment speech and association rights.
MMFA_072553-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    5/18/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072559                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072560-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    5/24/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072561                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072562-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                     6/8/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072571                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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                                                                                                                                                          coalition information would chill members' First
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MMFA_072572-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                    6/15/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072577                       <lginsberg@mediamatters.or                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072578-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                    6/15/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072583                       <lginsberg@mediamatters.or                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072584-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                    6/15/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072589                       <lginsberg@mediamatters.or                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072590-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    6/22/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072597                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072598-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    6/22/2023                     First Amendment   Redacted email address, name, and contact information
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MMFA_072605                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072606-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    6/22/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072613                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072614-   Redacted   Email   {Redacted: 1st Am Priv}      {Redacted: 1st Am Priv}                    6/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072620                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072621-   Redacted   Email   {Redacted: 1st Am Priv}     {Redacted: 1st Am Priv}                    6/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072627                                                                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072628-   Redacted   Email   {Redacted: 1st Am Priv}     {Redacted: 1st Am Priv}                    6/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072634                                                                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072635-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                     7/7/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072642                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072643-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    7/20/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072650                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072651-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    7/27/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072659                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072660-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    7/27/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072668                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072669-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    7/27/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072677                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072678-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    7/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072679                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072680-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    7/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072681                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072682-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    7/28/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072683                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072684-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                     8/1/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072685                       <lginsberg@mediamatters.or                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072686-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                     8/1/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072687                       <lginsberg@mediamatters.or                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072688-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                     8/1/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072689                       <lginsberg@mediamatters.or                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072690-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                     8/3/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072696                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072697-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                     8/3/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072703                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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Bates Number   Status     Docu    From                        To                        CC   BCC        Date         Confidentiality   Privilege Type    Privilege Note
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MMFA_072704-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                     8/3/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072710                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072711-   Redacted   Email   {Redacted: 1st Am Priv}     {Redacted: 1st Am Priv}                     8/9/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072719                                                                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072720-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    8/10/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072728                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072729-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    8/10/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072737                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072738-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    8/10/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072746                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072747-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    8/17/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072752                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072753-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                    8/17/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072758                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072759-   Redacted   Email   Priya Singh                 {Redacted: 1st Am Priv}                     9/7/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072764                       <psingh@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072765-   Redacted   Email   Priya Singh                   {Redacted: 1st Am Priv}                     9/7/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072770                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072771-   Redacted   Email   Priya Singh                   {Redacted: 1st Am Priv}                    9/14/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072777                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072778-   Redacted   Email   Priya Singh                   {Redacted: 1st Am Priv}                    9/14/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072784                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072785-   Redacted   Email   Priya Singh                   {Redacted: 1st Am Priv}                    9/14/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072791                       <psingh@mediamatters.org>                                                                              Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072792-   Redacted   Email   Andrea Alford via groups.io   {Redacted: 1st Am Priv}                   10/10/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072793                       <aalford=mediamatters.org@                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                  groups.io>                                                                                                               to.

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MMFA_072794-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/10/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072795                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072796-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/10/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072797                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072798-   Redacted   Email   Andrea Alford                 {Redacted: 1st Am Priv}                   10/10/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072799                       <aalford@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072800-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                   10/10/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072801                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072802-   Redacted   Email   {Redacted: 1st Am Priv}      {Redacted: 1st Am Priv}                   10/11/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072804                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072805-   Redacted   Email   {Redacted: 1st Am Priv}      {Redacted: 1st Am Priv}                   10/12/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072806                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072807-   Redacted   Email   Andrea Alford                {Redacted: 1st Am Priv}                   10/13/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072809                       <aalford@mediamatters.org>                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072810-   Redacted   Email   {Redacted: 1st Am Priv}      {Redacted: 1st Am Priv}                   10/20/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072819                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072820-   Redacted   Email   {Redacted: 1st Am Priv}      {Redacted: 1st Am Priv}                   10/20/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072829                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072830-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                    11/2/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072836                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072847-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                    11/9/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072850                       <lginsberg@mediamatters.or                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072851-   Redacted   Email   Lexi Ginsberg                {Redacted: 1st Am Priv}                    11/9/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072854                       <lginsberg@mediamatters.or                                                                            Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072855-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                   11/16/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072859                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
                                                                                                                                                          to.

                                                                                                                                                          First Amendment Privilege: Disclosing non-public
                                                                                                                                                          coalition information would chill members' First
                                                                                                                                                          Amendment speech and association rights.
MMFA_072860-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                   11/16/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072864                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072865-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                   11/17/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072866                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072867-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                   11/17/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072868                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072869-   Redacted   Email   Priya Singh                  {Redacted: 1st Am Priv}                   11/17/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072870                       <psingh@mediamatters.org>                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072871-   Redacted   Email   {Redacted: 1st Am Priv}      {Redacted: 1st Am Priv}                   11/17/2023                     First Amendment   Redacted email address, name, and contact information
MMFA_072878                                                                                                                             Privilege         of coalition of issue-based organizations MMFA belongs
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Bates Number   Status     Docu   From   To   CC   BCC        Date   Confidentiality    Privilege Type    Privilege Note
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                          Type
MMFA_072879    Withheld                                             Confidential       Attorney-Client   Conversation between MMFA executives regarding the
                                                                    information        Communication     present litigation and reflecting legal advice and requests
                                                                    subject to                           from counsel.
                                                                    protective order
                                                                                                         Attorney-Client Privilege: Communications reflect and
                                                                                                         pertain to legal guidance given by counsel related to the
                                                                                                         present litigation as well as internal communications
                                                                                                         regarding seeking legal advice from counsel.
MMFA_072880    Withheld                                             Confidential       Attorney-Client   Communications related to internal finance report
                                                                    attorney eyes      Communication;    generated at the request of counsel for use in the present
                                                                    only information   Attorney Work     litigation.
                                                                    subject to         Product
                                                                    protective order                     Attorney-Client Privilege: Communications reflect and
                                                                                                         pertain to legal guidance given by counsel related to the
                                                                                                         present litigation.

                                                                                                         Attorney Work Product: Report was created at the
                                                                                                         direction of counsel for use in the present litigation and
                                                                                                         reflects attorney mental impressions, legal theories, and
                                                                                                         strategy.
MMFA_072881    Withheld                                             Confidential       Attorney-Client   Internal finance report generated at the request of counsel
                                                                    attorney eyes      Communication;    for use in the present litigation.
                                                                    only information   Attorney Work
                                                                    subject to         Product           Attorney-Client Privilege: Communications reflect and
                                                                    protective order                     pertain to legal guidance given by counsel related to the
                                                                                                         present litigation.

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MMFA_072882    Withheld                                             Confidential       Attorney-Client   Internal finance report generated at the request of counsel
                                                                    attorney eyes      Communication;    for use in the present litigation.
                                                                    only information   Attorney Work
                                                                    subject to         Product           Attorney-Client Privilege: Communications reflect and
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                                                                    protective order                     pertain to legal guidance given by counsel related to the
                                                                                                         present litigation.

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MMFA_072883    Withheld                                             Confidential       Attorney-Client   Communications related to internal finance report
                                                                    attorney eyes      Communication;    generated at the request of counsel for use in the present
                                                                    only information   Attorney Work     litigation.
                                                                    subject to         Product
                                                                    protective order                     Attorney-Client Privilege: Communications reflect and
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Bates Number   Status     Docu    From                      To                        CC   BCC        Date         Confidentiality    Privilege Type    Privilege Note
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MMFA_072884    Withheld                                                                                            Confidential       Attorney-Client   Internal finance report generated at the request of counsel
                                                                                                                   attorney eyes      Communication;    for use in the present litigation.
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MMFA_072885    Withheld                                                                                            Confidential       Attorney-Client   Communications related to internal finance report
                                                                                                                   attorney eyes      Communication;    generated at the request of counsel for use in the present
                                                                                                                   only information   Attorney Work     litigation.
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MMFA_072886    Withheld                                                                                            Confidential       Attorney-Client   Communications related to internal finance report
                                                                                                                   attorney eyes      Communication;    generated at the request of counsel for use in the present
                                                                                                                   only information   Attorney Work     litigation.
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MMFA_072887    Withheld                                                                                            Confidential       Attorney-Client   Internal finance report generated at the request of counsel
                                                                                                                   attorney eyes      Communication;    for use in the present litigation.
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                                                                                                                   subject to         Product           Attorney-Client Privilege: Communications reflect and
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MMFA_072888-   Redacted   Email   {Redacted: 1st Am Priv}   {Redacted: 1st Am Priv}                    12/1/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072897                                                                                                                           Privilege         of coalition of issue-based organizations MMFA belongs
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Bates Number   Status     Docu    From                      To                        CC   BCC        Date         Confidentiality    Privilege Type    Privilege Note
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MMFA_072898-   Redacted   Email   {Redacted: 1st Am Priv}   {Redacted: 1st Am Priv}                    12/1/2023                      First Amendment   Redacted email address, name, and contact information
MMFA_072907                                                                                                                           Privilege         of coalition of issue-based organizations MMFA belongs
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MMFA_072908    Withheld                                                                                            Confidential       Attorney-Client   Communications related to internal finance report
                                                                                                                   attorney eyes      Communication;    generated at the request of counsel for use in the present
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MMFA_072909    Withheld                                                                                            Confidential       Attorney-Client   Internal finance report generated at the request of counsel
                                                                                                                   attorney eyes      Communication;    for use in the present litigation.
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MMFA_072910    Withheld                                                                                            Confidential       Attorney-Client   Communications related to internal finance report
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MMFA_072911    Withheld                                                                                            Confidential       Attorney-Client   Internal finance report generated at the request of counsel
                                                                                                                   attorney eyes      Communication;    for use in the present litigation.
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Bates Number   Status     Docu   From   To   CC   BCC        Date   Confidentiality    Privilege Type    Privilege Note
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MMFA_072912    Withheld                                             Confidential       Attorney-Client   Communications related to internal finance report
                                                                    attorney eyes      Communication;    generated at the request of counsel for use in the present
                                                                    only information   Attorney Work     litigation.
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                                                                    protective order                     Attorney-Client Privilege: Communications reflect and
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MMFA_072913    Withheld                                             Confidential       Attorney-Client   Communications with counsel regarding employment
                                                                    information        Communication     law issue.
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                                                                    protective order                     Attorney-Client Privilege: Communications reflect
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MMFA_072914    Withheld                                             Confidential       Attorney-Client   Communications with counsel regarding employment
                                                                    information        Communication     law issue.
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                                                                    protective order                     Attorney-Client Privilege: Communications reflect
                                                                                                         attorney guidance and legal advice.
MMFA_072915    Withheld                                             Confidential       Attorney-Client   Communications with counsel regarding employment
                                                                    information        Communication     law issue.
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                                                                    protective order                     Attorney-Client Privilege: Communications reflect
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                               Tab 9




                                                                 Supp. App'x 109
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                                                        Supp. App'x 110
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                                                          Supp. App'x 111
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                                                          Supp. App'x 115
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Case 4:23-cv-01175-O Document 112 Filed 10/15/24          Page 120 of 121 PageID 2483



Dated: October 15, 2024.

Respectfully submitted,
/s/ Andrew LeGrand

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  Counsel for Defendants Media Matters for America, Angelo Carusone, and Eric Hananoki
Case 4:23-cv-01175-O Document 112 Filed 10/15/24                  Page 121 of 121 PageID 2484



                                 CERTIFICATE OF SERVICE

       On October 15, 2024, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                      /s/ Andrew LeGrand
                                                      Andrew LeGrand
